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B1 (Official Form 1)(04/13)
                                                  United States Bankruptcy Court
                                                         Southern District of New York                                                                            Voluntary Petition
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 Name of Debtor (if individual, enter Last, First, Middle):                                                Name of Joint Debtor (Spouse) (Last, First, Middle):
  Binder & Binder - The National Social Security Disability
  Advocates (NY), LLC
All Other Names used by the Debtor in the last 8 years                                                     All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                                (include married, maiden, and trade names):




Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN                              Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all)                                                                              (if more than one, state all)
  XX-XXXXXXX
Street Address of Debtor (No. and Street, City, and State):                                                Street Address of Joint Debtor (No. and Street, City, and State):
  50 Main Street
  Suite 1001
  White Plains, NY                                                                        ZIP Code                                                                                        ZIP Code
                                                                                        10606
County of Residence or of the Principal Place of Business:                                                 County of Residence or of the Principal Place of Business:
  Westchester
Mailing Address of Debtor (if different from street address):                                              Mailing Address of Joint Debtor (if different from street address):
  300 Rabro Drive East
  Hauppauge, NY
                                                                                          ZIP Code                                                                                        ZIP Code
                                                                                        11788
Location of Principal Assets of Business Debtor
(if different from street address above):


                       Type of Debtor                                      Nature of Business                                              Chapter of Bankruptcy Code Under Which
          (Form of Organization) (Check one box)                              (Check one box)                                                 the Petition is Filed (Check one box)
     Individual (includes Joint Debtors)                           Health Care Business                                    Chapter 7
     See Exhibit D on page 2 of this form.                         Single Asset Real Estate as defined                                                     Chapter 15 Petition for Recognition
                                                                                                                           Chapter 9
     Corporation (includes LLC and LLP)                            in 11 U.S.C. § 101 (51B)                                                                of a Foreign Main Proceeding
                                                                                                                           Chapter 11
     Partnership                                                   Railroad
                                                                                                                           Chapter 12                      Chapter 15 Petition for Recognition
     Other (If debtor is not one of the above entities,            Stockbroker
                                                                                                                           Chapter 13                      of a Foreign Nonmain Proceeding
     check this box and state type of entity below.)               Commodity Broker
                                                                   Clearing Bank
                                                                   Other                                                                               Nature of Debts
                   Chapter 15 Debtors
                                                                          Tax-Exempt Entity                                                             (Check one box)
 Country of debtor's center of main interests:
                                                                         (Check box, if applicable)                       Debts are primarily consumer debts,                 Debts are primarily
                                                                   Debtor is a tax-exempt organization                    defined in 11 U.S.C. § 101(8) as                    business debts.
 Each country in which a foreign proceeding
 by, regarding, or against debtor is pending:                      under Title 26 of the United States                    "incurred by an individual primarily for
                                                                   Code (the Internal Revenue Code).                      a personal, family, or household purpose."

                                Filing Fee (Check one box)                                   Check one box:                          Chapter 11 Debtors
     Full Filing Fee attached                                                                     Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                  Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
     Filing Fee to be paid in installments (applicable to individuals only). Must            Check if:
     attach signed application for the court's consideration certifying that the
                                                                                                  Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
     debtor is unable to pay fee except in installments. Rule 1006(b). See Official
                                                                                                  are less than $2,490,925 (amount subject to adjustment on 4/01/16 and every three years thereafter).
     Form 3A.
                                                                                             Check all applicable boxes:
     Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                 A plan is being filed with this petition.
     attach signed application for the court's consideration. See Official Form 3B.
                                                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                                                                  in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                                   THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
   Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
   there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors

     1-              50-            100-          200-       1,000-        5,001-        10,001-       25,001-       50,001-          OVER
     49              99             199           999        5,000        10,000         25,000        50,000        100,000         100,000
Estimated Assets

     $0 to           $50,001 to     $100,001 to   $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000      to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                  million    million      million        million       million
Estimated Liabilities

     $0 to           $50,001 to     $100,001 to   $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000      to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                  million    million      million        million       million
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B1 (Official Form 1)(04/13)                                                                                                                                                 Page 2
                                                                                      Name of Debtor(s):
Voluntary Petition                                                                      Binder & Binder - The National Social Security Disability
(This page must be completed and filed in every case)                                   Advocates (NY), LLC
                                 All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                                      Case Number:                         Date Filed:
Where Filed: - None -
Location                                                                              Case Number:                                   Date Filed:
Where Filed:
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                             Relationship:                                  Judge:

                                       Exhibit A                                                                                Exhibit B
                                                                                         (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,                I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                        have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934                12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                           under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                        required by 11 U.S.C. §342(b).

        Exhibit A is attached and made a part of this petition.                         X
                                                                                            Signature of Attorney for Debtor(s)                     (Date)



                                                                                Exhibit C
  Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
       No.

                                                                           Exhibit D
  (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
        Exhibit D completed and signed by the debtor is attached and made a part of this petition.
  If this is a joint petition:
        Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                      Information Regarding the Debtor - Venue
                                                                (Check any applicable box)
                    Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                    days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                    There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                    Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                    this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                    proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                    sought in this District.
                                         Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                 (Check all applicable boxes)
                    Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                       (Name of landlord that obtained judgment)




                                       (Address of landlord)

                    Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                    the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                    Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period
                    after the filing of the petition.
                    Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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B1 (Official Form 1)(04/13)                                                                                                                                              Page 3
                                                                                           Name of Debtor(s):
Voluntary Petition                                                                           Binder & Binder - The National Social Security Disability
(This page must be completed and filed in every case)                                        Advocates (NY), LLC
                                                                                    Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                                Signature of a Foreign Representative
     I declare under penalty of perjury that the information provided in this                I declare under penalty of perjury that the information provided in this petition
     petition is true and correct.                                                           is true and correct, that I am the foreign representative of a debtor in a foreign
     [If petitioner is an individual whose debts are primarily consumer debts and            proceeding, and that I am authorized to file this petition.
     has chosen to file under chapter 7] I am aware that I may proceed under
                                                                                             (Check only one box.)
     chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
     available under each such chapter, and choose to proceed under chapter 7.                  I request relief in accordance with chapter 15 of title 11. United States Code.
     [If no attorney represents me and no bankruptcy petition preparer signs the                Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     petition] I have obtained and read the notice required by 11 U.S.C. §342(b).
                                                                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     I request relief in accordance with the chapter of title 11, United States Code,           of title 11 specified in this petition. A certified copy of the order granting
     specified in this petition.                                                                recognition of the foreign main proceeding is attached.

                                                                                           X
 X                                                                                             Signature of Foreign Representative
     Signature of Debtor

 X                                                                                             Printed Name of Foreign Representative
     Signature of Joint Debtor
                                                                                               Date
     Telephone Number (If not represented by attorney)                                            Signature of Non-Attorney Bankruptcy Petition Preparer

                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Date                                                                                      preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                               compensation and have provided the debtor with a copy of this document
                              Signature of Attorney*                                           and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                               110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
                                                                                               pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
 X    /s/ Kenneth A. Rosen, Esq.
                                                                                               chargeable by bankruptcy petition preparers, I have given the debtor notice
     Signature of Attorney for Debtor(s)                                                       of the maximum amount before preparing any document for filing for a
      Kenneth A. Rosen, Esq.                                                                   debtor or accepting any fee from the debtor, as required in that section.
                                                                                               Official Form 19 is attached.
     Printed Name of Attorney for Debtor(s)
      Lowenstein Sandler LLP
                                                                                               Printed Name and title, if any, of Bankruptcy Petition Preparer
     Firm Name
      1251 Avenue of the Americas, 17th Floor
      New York, NY 10020                                                                       Social-Security number (If the bankrutpcy petition preparer is not
                                                                                               an individual, state the Social Security number of the officer,
                                                                                               principal, responsible person or partner of the bankruptcy petition
     Address                                                                                   preparer.)(Required by 11 U.S.C. § 110.)


      (212) 262-6700 Fax: (212) 262-7402
     Telephone Number
     December 18, 2014
                                                                                               Address
     Date
     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
     certification that the attorney has no knowledge after an inquiry that the            X
     information in the schedules is incorrect.
                                                                                               Date
                Signature of Debtor (Corporation/Partnership)
                                                                                               Signature of bankruptcy petition preparer or officer, principal, responsible
     I declare under penalty of perjury that the information provided in this                  person,or partner whose Social Security number is provided above.
     petition is true and correct, and that I have been authorized to file this petition
     on behalf of the debtor.                                                                  Names and Social-Security numbers of all other individuals who prepared or
                                                                                               assisted in preparing this document unless the bankruptcy petition preparer is
     The debtor requests relief in accordance with the chapter of title 11, United             not an individual:
     States Code, specified in this petition.

 X    /s/ William A. Brandt, Jr.
     Signature of Authorized Individual
      William A. Brandt, Jr.                                                                   If more than one person prepared this document, attach additional sheets
                                                                                               conforming to the appropriate official form for each person.
     Printed Name of Authorized Individual
      Chief Restructuring Officer                                                              A bankruptcy petition preparer’s failure to comply with the provisions of
                                                                                               title 11 and the Federal Rules of Bankruptcy Procedure may result in
     Title of Authorized Individual                                                            fines or imprisonment or both. 11 U.S.C. §110; 18 U.S.C. §156.
      December 18, 2014
     Date
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                                RIDER TO VOLUNTARY PETITION


           Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor
                Each Concurrently Filed in the United States Bankruptcy Court
                           for the Southern District of New York

On December 18, 2014, each of the affiliated entities listed below (including the debtor in this
chapter 11 case) filed in this Court a voluntary petition for relief under chapter 11 of title 11 of
the United States Code, 11 U.S.C. §§ 101-1532. Contemporaneously with the filing of their
petitions, such entities filed a motion requesting joint administration of their chapter 11 cases.

Binder & Binder - The National Social Security Disability Advocates (NY), LLC
SSDI Holdings, Inc.
Binder & Binder - The National Social Security Disability Advocates LLC
Binder & Binder - The National Social Security Disability Advocates (AZ), LLC
Binder & Binder - The National Social Security Disability Advocates (CA), LLC
Binder & Binder - The National Social Security Disability Advocates (CO), LLC
Binder & Binder - The National Social Security Disability Advocates (CT), LLC
Binder & Binder - The National Social Security Disability Advocates (FL), LLC
Binder & Binder - The National Social Security Disability Advocates (GA), LLC
Binder & Binder - The National Social Security Disability Advocates (IL), LLC
Binder & Binder - The National Social Security Disability Advocates (MD), LLC
Binder & Binder - The National Social Security Disability Advocates (MO), LLC
Binder & Binder - The National Social Security Disability Advocates (NJ), LLC
Binder & Binder - The National Social Security Disability Advocates (NC), LLC
Binder & Binder - The National Social Security Disability Advocates (OH), LLC
Binder & Binder - The National Social Security Disability Advocates (PA), LLC
Binder & Binder - The National Social Security Disability Advocates (TX), LLC
Binder & Binder - The National Social Security Disability Advocates VA, LLC
Binder & Binder - The National Social Security Disability Advocates (WA), LLC
Binder & Binder - The National Social Security Disability Advocates (LA), LLC
Binder & Binder - The National Social Security Disability Advocates (MI), LLC
Binder & Binder - The National Social Security Disability Advocates (DC), LLC
The Rep for Vets LLC
National Veterans Disability Advocates LLC (DBA The Rep for Vets LLC)
The Social Security Express Ltd.




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B4 (Official Form 4) (12/07)
                                                               United States Bankruptcy Court
                                                                     Southern District of New York
 In re      Binder & Binder - The National Social Security Disability Advocates LLC                            Case No.
                                                                  Debtor(s)                                    Chapter       11


         CONSOLIDATED LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS
                      Following is the list of the debtor's creditors holding the 20 largest unsecured claims. The list is prepared in
            accordance with Fed. R. Bankr. P. 1007(d) for filing in this chapter 11 [or chapter 9] case. The list does not include (1) persons
            who come within the definition of "insider" set forth in 11 U.S.C. § 101, or (2) secured creditors unless the value of the
            collateral is such that the unsecured deficiency places the creditor among the holders of the 20 largest unsecured claims. If a
            minor child is one of the creditors holding the 20 largest unsecured claims, state the child's initials and the name and address of
            the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See
            11 U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

                       (1)                                                (2)                            (3)                      (4)                     (5)

Name of creditor and complete                      Name, telephone number and complete          Nature of claim           Indicate if claim is       Amount of
mailing address including zip code                 mailing address, including zip code, of      (trade debt, bank         contingent,                 claim [if
                                                   employee, agent, or department of creditor   loan, government          unliquidated,            secured, also
                                                   familiar with claim who may be contacted     contract, etc.)           disputed, or             state value of
                                                                                                                          subject to setoff           security]
Stellus Capital Management, LLC                    Robert Collins                               Loan (Unsecured)                                    16,748,577.70
4400 Post Oak Parkway                              Stellus Capital Management, LLC
Suite 2200                                         4400 Post Oak Parkway
Houston, TX 77027                                  Suite 2200
                                                   Houston, TX 77027


Intergrated Media Solutions                        Julio Villeda                                Trade debt                                           2,743,820.68
650 5th Avenue                                     Intergrated Media Solutions
35th Floor                                         909 3rd Ave., 31st Floor
New York, NY 10019-6108                            New York, NY 10022
                                                   (212) 373-9594
Google, Inc.                                       Carmen Bonayon                               Trade debt                                              821,299.37
Dept. 33654                                        Google, Inc.
P. O. Box 39000                                    1600 Amphitheater Pkwy
San Francisco, CA 94139                            Mountain View, CA 94043-1351
                                                   (866) 954-0453 X8544
LexisNexis                                         Donna Russomagno                             Trade debt                                              200,172.60
P. O. Box 7247-7090                                LexisNexis c/o Martindale Hubble
Philadelphia, PA 19170-7090                        121 Chanlon Road
                                                   New Providence, NJ 07974
                                                   (800) 526-4902 X5432
Yahoo! Inc.                                        Beige Nelson                                 Trade debt                                              175,205.75
P. O. Box 89-4147                                  Yahoo! Inc.
Los Angeles, CA 90189-4147                         14010 FNB Parkway
                                                   Omaha, NE 68154
                                                   (402) 686-2121
                                                   Beigen@yahoo.com
Information Analysis Inc.                          Matt Sands                                   Trade debt                                              158,568.00
11240 Waple Mill Road                              Information Analysis Inc.
Suite 201                                          11240 Waple Mill Road, Ste 201
Fairfax, VA 22030                                  Fairfax, VA 22030
                                                   (717) 659-7566




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           Binder & Binder - The National Social Security Disability
 In re     Advocates LLC                                                                               Case No.
                                                              Debtor(s)

         CONSOLIDATED LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS
                                                                           (Continuation Sheet)
                    (1)                                              (2)                              (3)                    (4)                    (5)

Name of creditor and complete                Name, telephone number and complete            Nature of claim (trade   Indicate if claim is   Amount of claim
mailing address including zip                mailing address, including zip code, of        debt, bank loan,         contingent,            [if secured, also
code                                         employee, agent, or department of creditor     government contract,     unliquidated,          state value of
                                             familiar with claim who may be contacted       etc.)                    disputed, or subject   security]
                                                                                                                     to setoff
CenturyLink                 George Santos                                                   Trade debt                                             126,299.39
Business Services           CenturyLink
P. O. Box 52187             665 Lexington Ave.
Phoenix, AZ 85072-2187      Mansfield, OH 44907
                            (516) 712-3042
                            qbileast@centurylink.com
Webmetro                    Carin Hughes                                                    Trade debt                                             109,615.56
9197 S. Peoria Stret        Webmetro
Englewood, CO 80112         9197 S. Peoria Stret
                            Englewood, CO 80112
                            (909) 599-8885
De Lage Landen              Contracts/Customer Service                                      Trade debt                                             108,141.98
P. O. Box 41602             De Lage Landen
Philadelphia, PA 19102-1602 1111 Old Eagle School Road
                            Wayne, PA 19087-1453
                            (800) 736-0220
                            customercarecenter@leasedirect.com
W. B. Mason Co., Inc.       Don Potts/Lou Tager                                             Trade debt                                             106,755.48
P. O. Box 981101            W. B. Mason Co., Inc.
Boston, MA 02298-1101       59 Centre Street
                            Brockton, MA 02301
                            (508) 436-8788
Teaktronics, Inc.           Roger Zheng                                                     Trade debt                                               85,329.30
220 Jericho Turnpike        Teaktronics, Inc.
Mineola, NY 11501           220 Jericho Turnpike
                            Mineola, NY 11501
                            (516) 741-8001
TGI Office Automation       Angelo Perrone                                                  Trade debt                                               65,042.27
120 3rd Street              TGI Office Automation
Brooklyn, NY 11231          1860 Walt Whitman Road
                            Brooklyn, NY 11231
                            (631) 712-6980 X2102
WLNY-TV                     Henry J. Malloy, Jr.                                            Trade debt                                               54,672.00
P. O. Box 28132             WLNY-TV
New York, NY 10087-8132     1700 Broadway, 10th Floor
                            New York, NY 10019
                            (212) 975-1739
United Welfare Fund         United Welfare Fund                                            Health benefits                                           48,401.18
138-50 Queens Blvd.         138-50 Queens Blvd.
Jamaica, NY 11435           Jamaica, NY 11435
United Service Workers Sec. United Service Workers Sec. Division                           Security fund                                             45,032.00
Division                    138-50 Queens Blvd.
138-50 Queens Blvd.         Jamaica, NY 11435
Jamaica, NY 11435




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           Binder & Binder - The National Social Security Disability
 In re     Advocates LLC                                                                                 Case No.
                                                              Debtor(s)

         CONSOLIDATED LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS
                                                                           (Continuation Sheet)
                    (1)                                              (2)                                (3)                    (4)                    (5)

Name of creditor and complete                Name, telephone number and complete              Nature of claim (trade   Indicate if claim is   Amount of claim
mailing address including zip                mailing address, including zip code, of          debt, bank loan,         contingent,            [if secured, also
code                                         employee, agent, or department of creditor       government contract,     unliquidated,          state value of
                                             familiar with claim who may be contacted         etc.)                    disputed, or subject   security]
                                                                                                                       to setoff
North Country                                Stephanie Beecroft                               Trade debt                                               41,209.00
P. O. Box 951415                             North Country
Dallas, TX 75395-1415                        721 2nd Street South
                                             Great Falls, MT 59405
                                             (406) 761-7877
Bullseye Telecom                             Julie Knight                                     Trade debt                                               37,861.11
c/o First Place Bank                         Bullseye Telecom
P. O. Box 33025                              25925 Telegraph Road, Ste 210
Detroit, MI 48232-5025                       Southfield, MI 48033
                                             (248) 784-2591
                                             jknight@bullseyetelcom.com
American Express                             American Express                                 Trade debt                                               33,849.23
P. O. Box 360001                             P. O. Box 360001
Fort Lauderdale, FL                          Fort Lauderdale, FL 33336-0001
33336-0001
Promenet, Inc.                               Nicholas Sidoti                                  Trade debt                                               31,847.47
42 Broadway                                  Promenet, Inc.
16th Floor                                   42 Broadway, 16th Floor
New York, NY 10004                           New York, NY 10004
                                             (646) 723-4119
News 12 Networks, LLC                        Nancy Finelli/Linda Powell                       Trade debt                                               28,473.50
P. O. Box 392068                             News 12 Networks, LLC
Pittsburgh, PA 15251-9068                    1111 Stewart Ave.
                                             Bethpage, NY 11714
                                             (516) 803-5380


                                          DECLARATION UNDER PENALTY OF PERJURY
                                        ON BEHALF OF A CORPORATION OR PARTNERSHIP
                     I, the Chief Restructuring Officer of the corporation named as the debtor in this case, declare under penalty of
            perjury that I have read the foregoing list and that it is true and correct to the best of my information and belief.


 Date December 18, 2014                                                   Signature   /s/ William A. Brandt, Jr.
                                                                                      William A. Brandt, Jr.
                                                                                      Chief Restructuring Officer

    Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                     18 U.S.C. §§ 152 and 3571.




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                                                               United States Bankruptcy Court
                                                                       Southern District of New York
  In re         Binder & Binder - The National Social Security                                                    Case No.
                Disability Advocates (NY), LLC
                                                                                                       ,
                                                                                      Debtor                      Chapter                   11




                                                       LIST OF EQUITY SECURITY HOLDERS
     Following is the list of the Debtor's equity security holders which is prepared in accordance with Rule 1007(a)(3) for filing in this chapter 11 case.

       Name and last known address                                                  Security                 Number             Kind of
       or place of business of holder                                                Class                 of Securities        Interest

      Binder & Binder - The National                                                                        100%               Member
      Social Security Advocates LLC
      300 Rabro Drive East
      Hauppauge, NY 11788




      DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP
                    I, the Chief Restructuring Officer of the corporation named as the debtor in this case, declare under penalty of perjury
              that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and
              belief.
     Date         December 18, 2014                                                     Signature /s/ William A. Brandt, Jr.
                                                                                                 William A. Brandt, Jr.
                                                                                                 Chief Restructuring Officer


              Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                            18 U.S.C §§ 152 and 3571.




      0       continuation sheets attached to List of Equity Security Holders
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December 18, 2014


Binder & Binder − The National Social
Security Disability Advocates LLC
300 Rabro Drive
Hauppauge, New York 11788
Attention: James Sileo and Harry Binder

H.I.G. Capital LLC
500 Boylston St., Suite 1350
Boston, MA 02116
Attention: William Nolan

Gentlemen:

        We refer to that certain Loan Agreement dated as of August 27, 2010 (as amended, restated,
supplemented or otherwise modified from time to time, the “Pre-petition Credit Agreement”; together
with all instruments, agreements and documents related thereto or executed in connection therewith,
the “Pre-petition Loan Documents”), by and among Binder & Binder − The National Social Security
Disability Advocates LLC, a Delaware limited liability company (“Pre-petition Borrower” together
with the guarantors under the Pre-petition Loan Documents, the “Pre-petition Loan Parties”), the
various financial institutions party thereto as “Lenders” (collectively, the “Pre-petition Lenders”), the
“L/C Issuer” party thereto (the “Pre-petition L/C Issuer”) and U.S. Bank National Association, in its
capacity as administrative agent for the Pre-petition L/C Issuer and the Pre-petition Lenders (in such
capacity, “Pre-petition Agent”). Capitalized terms used by not defined in this Summary of Proposed
Terms shall have the meanings given such terms in the Pre-petition Credit Agreement.

        We are pleased to advise you that DIP Agent and each DIP Lender (each as defined below) will
consider providing debtor-in-possession financing for Borrowers (as defined below) in the form of a
revolving credit facility in the amount detailed below, the proceeds of which shall be used in
accordance with the terms set forth herein and the DIP Loan Documents (as defined below), including,
without limitation, (1) to repay the Revolving Credit Loans outstanding as of the petition date of the

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any form or to authorize any Borrower or Guarantor to use Pre-petition Agent’s or any Pre-petition Lender’s
cash collateral or to waive any rights or remedies (under the Pre-petition Loan Documents, the Bankruptcy
Code or other applicable law) and remains subject to due diligence, credit approval and documentation and
approval of the Interim Order and the Final Order by the Bankruptcy Court. No oral communications
between the parties shall be deemed to supersede this Summary of Proposed Terms or indicate any
commitment to extend credit in any form or to authorize any Borrower or Guarantor to use Pre-petition
Agent’s or any Pre-petition Lender’s cash collateral or to waive any rights or remedies (under the Pre-petition
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Bankruptcy Case referenced below (the “Petition Date”) and all then accrued and unpaid interest and
fees incurred in connection with the Revolving Credit Loans (the “Pre-petition Revolving
Obligations”), (2) to repay the principal amount of the Term Loan outstanding as of the Petition Date
and all then accrued and unpaid interest and fees incurred in connection with the Term Loan (the “Pre-
petition Term Loan Obligations”; the Pre-petition Revolving Obligations and the Pre-petition Term
Loan Obligations are sometimes referred to herein collectively as, the “Pre-petition Obligations”) and
(3) to provide ongoing working capital pursuant to the Budget (as defined below) during the
Bankruptcy Case (as defined below).

                                   THIS IS NOT A COMMITMENT

         This Summary of Proposed Terms is a statement of general intent only and does not constitute
an offer, obligation, understanding or commitment by DIP Agent or DIP Lenders to provide financing
or advance any funds to any Borrower, Guarantor (as defined below) or any other Person or of Pre-
petition Agent or Pre-petition Lenders to authorize or consent to any use of cash collateral with respect
to any pre-petition liens. This Summary of Proposed Terms is based upon the fact that Borrowers and
Guarantor will elect to file voluntary petitions for relief under chapter 11 of the Federal Bankruptcy
Code, 11 U.S.C. § 101 et. seq. (the “Bankruptcy Code”) in the United States Bankruptcy Court for the
Southern District of New York (the “Bankruptcy Court”) subsequent to the date hereof (individually
and collectively, the “Bankruptcy Case”), and that any financing or other financial accommodations
will only be made pursuant to the terms, covenants, representations, warranties, indemnities and
conditions of definitive documentation executed by Borrowers, Guarantor, DIP Agent, DIP Lenders
and all other necessary parties, and approved by the Bankruptcy Court pursuant to the Interim Order
and the Final Order (as such terms are defined below). Nothing contained herein shall be construed to
be a commitment or obligation of DIP Agent or DIP Lenders unless and until the execution of
definitive documentation and the entry of an appropriate order by the Bankruptcy Court. All
documents described in this Summary of Proposed Terms shall be in form and substance satisfactory to
DIP Agent and its counsel. No past, present, or future action, course of conduct or failure to act
relating to the transaction referenced in this Summary of Proposed Terms or relating to the negotiation
of the terms of such transaction will give rise to or serve as the basis for any obligation or other
liability on the part of DIP Agent or DIP Lenders. The Summary of Proposed Terms pursuant to which
DIP Agent and DIP Lenders propose (which proposal is preliminary and subject to change based on,
among other things, tax, legal, regulatory and other structuring considerations of DIP Agent and DIP
Lenders, as well as internal credit approval for each DIP Lender) to establish the DIP Credit Facility
with Borrowers are set forth as follows:

                                 SUMMARY OF PROPOSED TERMS

 Borrowers:                 Binder & Binder − The National Social Security Disability Advocates LLC,
                            a Delaware limited liability company, and its subsidiaries, including,
                            without limitation, those subsidiaries forth on Exhibit A attached hereto
                                                    2

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any form or to authorize any Borrower or Guarantor to use Pre-petition Agent’s or any Pre-petition Lender’s
cash collateral or to waive any rights or remedies (under the Pre-petition Loan Documents, the Bankruptcy
Code or other applicable law) and remains subject to due diligence, credit approval and documentation and
approval of the Interim Order and the Final Order by the Bankruptcy Court. No oral communications
between the parties shall be deemed to supersede this Summary of Proposed Terms or indicate any
commitment to extend credit in any form or to authorize any Borrower or Guarantor to use Pre-petition
Agent’s or any Pre-petition Lender’s cash collateral or to waive any rights or remedies (under the Pre-petition
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                            (“Borrowers”), jointly and severally, in their capacities as borrowers and
                            debtors in possession in the Bankruptcy Case to be filed with the
                            Bankruptcy Court.

 Guarantor:                 SSDI Holdings, Inc. (“Guarantor”; Borrowers and Guarantor are
                            collectively referred to herein as “Loan Parties”), in its capacity as a
                            guarantor and debtor in possession in the Bankruptcy Case. The guaranty
                            by Guarantor (“DIP Guaranties”) shall be secured by first priority security
                            interests in and liens on all assets of Guarantor’s assets as noted below.

 DIP Agent:                 U.S. Bank National Association (“U.S. Bank” and, in such capacity, the
                            “DIP Agent”).

 DIP Lenders:               U.S. Bank and the other Lenders under the Pre-petition Credit Agreement
                            (collectively, the “DIP Lenders”).

 DIP Credit Facility:       A revolving credit facility (the “DIP Credit Facility” and the loans under the
                            DIP Credit Facility, the “DIP Loans”) in an aggregate principal amount not
                            to exceed $[26,000,000]*, subject to reduction as set forth herein (the “DIP
                            Facility Cap”). The indebtedness and obligations of Borrowers under the
                            DIP Credit Facility shall be joint and several. The amount of the DIP Loans
                            available to Borrowers under the DIP Credit Facility will be limited to
                            (a) amounts used to repay in full the Pre-petition Obligations and
                            (b) amounts and purposes identified in the Budget and subject to variances
                            as set forth below and compliance with the terms and conditions set forth
                            below, which shall not otherwise exceed $3,000,000 (the “Sublimit” and
                            such DIP Loans, the “Sublimit Loans”). The Sublimit shall be reduced by
                            $250,000 commencing on September 1, 2015 and then every six months
                            thereafter. Each such reduction shall also reduce the DIP Facility Cap. The
                            DIP Credit Facility is conditioned upon DIP Agent, for the benefit of DIP
                            Lenders, obtaining a first priority perfected lien on, and security interest in,
                            all of Borrowers’ and Guarantor’s personal and real property assets as
                            provided in the “Collateral, Security and Superpriority Claims” paragraph
                            below. In addition, DIP Agent and DIP Lenders shall be entitled to assign
                            and/or participate in the DIP Credit Facility with additional lenders.

                            *The amount of the DIP Facility Cap shall be equal to the Pre-petition
                            Obligations plus the $3,000,000 Sublimit.

                            Upon entry of the Interim Order, to the extent the conditions precedent to
                            the Closing shall have been satisfied, but prior to entry of the Final Order,
                                                    3

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any form or to authorize any Borrower or Guarantor to use Pre-petition Agent’s or any Pre-petition Lender’s
cash collateral or to waive any rights or remedies (under the Pre-petition Loan Documents, the Bankruptcy
Code or other applicable law) and remains subject to due diligence, credit approval and documentation and
approval of the Interim Order and the Final Order by the Bankruptcy Court. No oral communications
between the parties shall be deemed to supersede this Summary of Proposed Terms or indicate any
commitment to extend credit in any form or to authorize any Borrower or Guarantor to use Pre-petition
Agent’s or any Pre-petition Lender’s cash collateral or to waive any rights or remedies (under the Pre-petition
Loan Documents, the Bankruptcy Code or applicable law).
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                            amounts under the DIP Credit Facility will be limited to $[TBD], a portion
                            of which shall be funded at the Closing in an amount equal to at least
                            $[TBD] (the “Initial DIP Loan”), which Initial DIP Loan shall be used to
                            repay in full the Pre-petition Obligations. DIP Loans will be made for the
                            purposes provided in the “Use of Proceeds” paragraph below not
                            inconsistent with the Budget. Amounts repaid with respect to Sublimit
                            Loans may be reborrowed (from time to time) up to the Sublimit, subject to
                            compliance with the applicable conditions to borrowing. Amounts repaid
                            with respect to the portion of the Initial DIP Loan used to repay the Pre-
                            petition Obligations (such amounts, the “Roll-up DIP Obligations”) may not
                            be reborrowed, and shall permanently reduce the DIP Facility Cap.

                            Following the disbursement of the Initial DIP Loan, DIP Loans up to the
                            Sublimit may be drawn during the period from and including the Closing up
                            to but excluding the DIP Termination Date (as defined below) (such period,
                            the “Availability Period”). The DIP Credit Facility will terminate and the
                            DIP Obligations shall be due and payable in full at the end of the
                            Availability Period.

                            For the avoidance of doubt, in no event shall Borrowers have any right to
                            request, nor shall any of DIP Agent, DIP Lenders, Pre-petition Agent, Pre-
                            petition L/C Issuer or Pre-petition Lenders have any obligation to issue, any
                            letters of credit at any time.

 Closing:                   The closing of the DIP Credit Facility shall occur on a date that is mutually
                            satisfactory to Borrowers and DIP Agent (the “Closing”); provided, that if
                            the Closing does not occur on or before December 27, 2014, this Summary
                            of Proposed Terms shall expire and have no further force or effect.

 Maturity:                  DIP Credit Facility shall mature (the “DIP Termination Date”) on the
                            earliest to occur of: (a) August 31, 2016, (b) the effective date of a sale of
                            the assets of any Borrower or Guarantor pursuant to section 363 of the
                            Bankruptcy Code, (c) the effective date of a Plan, (d) the conversion of the
                            Bankruptcy Case to a proceeding under Chapter 7 of the Bankruptcy Code,
                            (e) the dismissal of the Bankruptcy Case or (f) acceleration of maturity of
                            the DIP Credit Facility by DIP Agent or DIP Lenders due to the occurrence
                            of an event of default under the DIP Loan Documents (as defined below).
                            All outstanding indebtedness under the DIP Credit Facility and all other DIP
                            Obligations (as defined below) shall be due and payable in full on the DIP
                            Termination Date.

                                                      4

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any form or to authorize any Borrower or Guarantor to use Pre-petition Agent’s or any Pre-petition Lender’s
cash collateral or to waive any rights or remedies (under the Pre-petition Loan Documents, the Bankruptcy
Code or other applicable law) and remains subject to due diligence, credit approval and documentation and
approval of the Interim Order and the Final Order by the Bankruptcy Court. No oral communications
between the parties shall be deemed to supersede this Summary of Proposed Terms or indicate any
commitment to extend credit in any form or to authorize any Borrower or Guarantor to use Pre-petition
Agent’s or any Pre-petition Lender’s cash collateral or to waive any rights or remedies (under the Pre-petition
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 Use of Proceeds:           Proceeds of the DIP Credit Facility will be used during the Availability
                            Period for the following, but in each case in accordance with and subject to
                            the Budget: (i) with respect to proceeds of the DIP Credit Facility (other
                            than Sublimit Loans), to repay the Pre-petition Obligations in full and
                            (ii) with respect to Sublimit Loans, in each case in accordance with the terms
                            of the DIP Loan Documents, the Interim Order and the Final Order (and in
                            any event in the aggregate amount not to exceed the Sublimit), (A) to pay
                            working capital and other general corporate needs of Borrowers in the
                            ordinary course of business; (B) to pay postpetition fees and expenses
                            related to the DIP Credit Facility; (C) to pay fees required to be paid to the
                            Clerk of the Bankruptcy Court and to the Office of the United States Trustee
                            or agent thereof; and (D) for payment of professional fees pursuant to a
                            carve-out and payment procedures acceptable to Borrowers, DIP Agent and
                            DIP Lenders. For the avoidance of doubt, repayment of the Roll-up DIP
                            Obligations shall not reduce sums available for Sublimit Loans. The
                            foregoing shall not apply to amounts in the Wind-Down Fund (as defined
                            below), the use of which is detailed in the “Wind-Down Expense Account”
                            paragraph set forth below.

 Documentation:             The DIP Credit Facility will be evidenced by a credit agreement (the “DIP
                            Agreement”), security documents, guaranties and other legal documentation
                            (collectively with the DIP Credit Agreement, the DIP Guaranties, the
                            Interim Order and the Final Order, the “DIP Loan Documents”) required by
                            DIP Agent and DIP Lenders, which DIP Loan Documents shall be in form
                            and substance consistent with this term sheet and otherwise mutually
                            satisfactory to Borrowers, DIP Agent and DIP Lenders. The DIP Loan
                            Documents will contain certain conditions precedent, affirmative, negative
                            and conditional covenants, indemnities, events of default and remedies, and
                            Borrowers and Guarantor will make representations and warranties, in form
                            and substance acceptable to Borrower, DIP Agent and DIP Lenders.

 Mandatory                  Mandatory prepayments of the DIP Loans (including timing, amounts and
 Prepayments:               application thereof) to be determined by DIP Agent and DIP Lenders, but in
                            any event shall include the following prepayments:

                                (1)   The Loan Parties shall be required to repay the Roll-up DIP
                                      Obligations so that, as of any test date, payments applied to the
                                      Roll-up DIP Obligations on a cumulative basis since the Petition
                                      Date shall equal at least the amount set forth on Schedule 1
                                      attached hereto opposite such date. The Loan Parties’ compliance

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any form or to authorize any Borrower or Guarantor to use Pre-petition Agent’s or any Pre-petition Lender’s
cash collateral or to waive any rights or remedies (under the Pre-petition Loan Documents, the Bankruptcy
Code or other applicable law) and remains subject to due diligence, credit approval and documentation and
approval of the Interim Order and the Final Order by the Bankruptcy Court. No oral communications
between the parties shall be deemed to supersede this Summary of Proposed Terms or indicate any
commitment to extend credit in any form or to authorize any Borrower or Guarantor to use Pre-petition
Agent’s or any Pre-petition Lender’s cash collateral or to waive any rights or remedies (under the Pre-petition
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                                      shall be tested monthly as of the last day of each calendar month
                                      commencing on May 31, 2015.

                                (2)   The Loan Parties may not have on hand cash in excess of $750,000
                                      in the aggregate (the “Maximum Cash Amount”) as of the close of
                                      the business Monday of each week (or if not a business day, the
                                      next business day) (each, a “Measuring Day”), which shall be
                                      determined based upon the Borrowers’ book balances as of such
                                      Measuring Day. If the Loan Parties on a Measuring Day have cash
                                      on hand in excess of the Maximum Cash Amount, Borrowers shall
                                      pay to DIP Agent prior to the close of business on the next
                                      business day (each, an “Excess Cash Payment Date”) an amount
                                      equal to such excess (the “Excess Cash” and each payment, an
                                      “Excess Cash Payment”). Excess Cash Payments will be applied
                                      to the DIP Loans as follows (less contributions to the Wind-Down
                                      Fund to the extent permitted below): first, to the outstanding
                                      principal balance of the Sublimit Loans and, second, to the
                                      outstanding principal balance of the Roll-up DIP Obligations. The
                                      Loan Parties shall deliver to DIP Agent (i) on the business day
                                      immediately following each Excess Cash Payment Date or if no
                                      Excess Cash Payment is required to be paid in any calendar week,
                                      then on Wednesday of such calendar week, evidence of: (1) the
                                      Borrowers’ book balance as of the Measuring Day in such
                                      calendar week, which shall include all receipts and disbursements
                                      received and made during such immediately preceding week; and
                                      (2) any Excess Cash Payments required to be delivered to DIP
                                      Agent on the Excess Cash Payment Date during such week, if any.
                                      For the avoidance of doubt, the Loan Parties only need to report
                                      cash in excess of the Maximum Cash Amount and remit Excess
                                      Cash Payments once a week based on the Borrowers’ book
                                      balances on the Measuring Day of each week.

 Wind-Down Expense          Commencing in June 2015, and during each month thereafter, so long as no
 Account:                   event of default has occurred and is continuing or would result therefrom,
                            Borrowers may fund from Excess Cash Payments a wind-down account (the
                            “Wind-Down Fund”) so long as any amounts paid into the Wind-Down
                            Fund in any given month, when aggregated with all amounts paid into the
                            Wind-Down Fund during the Bankruptcy Proceeding on a cumulative basis,
                            do not exceed (after giving effect to such payment) the amount set forth on
                            Schedule 2 attached hereto opposite such month. For the avoidance of

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cash collateral or to waive any rights or remedies (under the Pre-petition Loan Documents, the Bankruptcy
Code or other applicable law) and remains subject to due diligence, credit approval and documentation and
approval of the Interim Order and the Final Order by the Bankruptcy Court. No oral communications
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                            doubt, in no event shall the aggregate amount in the Wind-Down Fund since
                            the Petition Date (on a cumulative basis) exceed $2,500,000 in the
                            aggregate. The Wind-Down Fund shall be (1) a separate account and hold
                            only amounts paid into the Wind-Down Fund in accordance with this
                            paragraph and (2) established and maintained with and under the control of
                            a DIP Lender. The Wind-Down Fund and all amounts from time to time on
                            deposit in the Wind-Down Fund shall be additional security for the payment
                            and performance of the DIP Obligation and shall not be subject to any
                            carve-out. The Loan Parties may not access the Wind-Down Fund or any
                            funds therein until the DIP Obligations are paid in full and the DIP Loan
                            Agreement has been terminated; provided, however, that upon the
                            occurrence of an Event of Default that results in either (i) the acceleration of
                            the DIP Obligations or (ii) DIP Lenders no longer advancing any Sublimit
                            Loans, and so long has Borrowers have first used all cash on hand,
                            Borrowers may access amounts in the Wind-Down Fund which shall be
                            used by Borrowers solely to pay (A) payroll, payroll taxes and benefits and
                            (B) hearing related costs. Borrowers shall submit a written request to DIP
                            Agent to request funds from the Wind-Down Fund prior to payment in full
                            of the DIP Obligations and termination of the DIP Credit Agreement, which
                            written notice shall include a detailed description and certification of an
                            officer of Borrowers regarding the use of the requested amounts. Upon the
                            occurrence of the DIP Termination Date (other than as a result of the
                            acceleration of maturity of the DIP Credit Facility resulting from the
                            occurrence of non-material events of default to be agreed upon by
                            Borrowers, DIP Agent and DIP Lenders), DIP Agent may, without further
                            notice to or order of the Bankruptcy Court or further notice to any other
                            person, apply the amounts then on deposit in the Wind-Down Fund to the
                            DIP Obligations in such order as determined by DIP Agent in its sole
                            discretion.

 Interest:                  Interest on the outstanding balance of the DIP Credit Facility (including,
                            without limitation, all DIP Loans) shall be payable monthly in arrears at an
                            annual rate of the Base Rate, plus 4.25%.

                            Interest on the outstanding balance of the DIP Credit Facility shall be
                            calculated each month on the basis of the actual number of days elapsed and
                            a 360-day year.

 Default Interest           From and after the occurrence of a default or an event of default under any
 Rate:                      of the DIP Loan Documents, a default rate of interest of an additional five

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approval of the Interim Order and the Final Order by the Bankruptcy Court. No oral communications
between the parties shall be deemed to supersede this Summary of Proposed Terms or indicate any
commitment to extend credit in any form or to authorize any Borrower or Guarantor to use Pre-petition
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                            percent (5.0%) per annum over the rate otherwise applicable shall be
                            payable on demand on the outstanding balance (including any accrued and
                            unpaid interest, fees and reimbursements) of the DIP Credit Facility and all
                            other DIP Obligations.

 Fees:                      (1) On the date of Closing, Borrowers shall pay DIP Agent, for the ratable
                            benefit of DIP Lenders, a commitment fee of $100,000, which shall be fully-
                            earned on the date of Closing and shall be non-refundable.

                            (2) With regard to the Sublimit Loans only, Borrowers shall pay DIP Agent,
                            for the ratable benefit of DIP Lenders, an unused line fee of three quarters of
                            one percent (0.75%) per annum (calculated and payable monthly) of the
                            amount by which the Sublimit exceeds the average outstanding amount of
                            the Sublimit Loans in any month.

 Collateral and             To secure the DIP Credit Facility and advances made by DIP Agent and DIP
 Security;                  Lenders to Borrowers and the obligations of Borrowers and Guarantor to
 Superpriority Claims       DIP Agent and DIP Lenders, DIP Agent, on its behalf and on behalf of the
                            DIP Lenders, will receive a duly-perfected, first-priority security interest in,
                            and priming lien on, all of the existing and after-acquired (pre-petition and
                            post-petition) tangible and intangible assets of Borrowers and Guarantor
                            (collectively, the “DIP Collateral”) subject to mutually acceptable permitted
                            liens (“Permitted Liens”), including, without limitation, accounts receivable,
                            inventory, machinery, equipment, real estate, general intangibles and all
                            claims that the Loan Parties have or may have against any person or entity,
                            including, without limitation, claims pursuant to sections 502(d), 544, 545,
                            547, 548, 549, 550, or 553 of the Bankruptcy Code. All obligations of
                            Borrowers under the DIP Credit Facility and Guarantor under the DIP
                            Guaranties, including, without limitation, all DIP Loans, all interest and fees
                            in connection therewith and all other indebtedness, obligations and liabilities
                            of Borrowers and Guarantor to DIP Agent and DIP Lenders (collectively,
                            the “DIP Obligations”) shall be (a) secured: (i) pursuant to section 364(d) of
                            the Bankruptcy Code, by a first-priority, senior priming perfected lien on,
                            and security interest in, all property of Borrowers and Guarantor, subject
                            only to Permitted Liens; and (ii) pursuant to section 364(c) of the
                            Bankruptcy Code, by a first-priority, perfected lien on, and security interest
                            in, all property of Borrowers and Guarantor that is not subject to any valid,
                            duly-perfected lien of any party (such liens and security interests,
                            collectively, the “DIP Liens”); and (b) accorded priority under section
                            364(c) of the Bankruptcy Code over any and all administrative expenses of

                                                      8

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                            the kind specified in sections 105, 326, 328, 330, 331, 503(b), 506(c),
                            507(a), 507(b), 546(c), 726, 1114 or any other provisions of the Bankruptcy
                            Code. The foregoing notwithstanding, however, the security shall be subject
                            to a carve-out for the U.S. Trustee’s fees and professional fees of Loan
                            Parties’ professionals and professionals retained by a statutory committee, if
                            any, in an amount and subject to procedures acceptable to Borrowers, DIP
                            Agent and DIP Lenders.

                            The DIP Liens on the DIP Collateral of Borrowers and Guarantor shall be
                            effective and perfected as of the entry of the Interim Order and without
                            necessity of the execution, filing or recording of mortgages, security
                            agreements, pledge agreements, control agreements, financing statements or
                            other agreements. However, the Agent may, in its discretion, require the
                            execution, filing or recording of any or all of the documents described in the
                            preceding sentence.

 Reporting:                 Daily: Each Measuring Day, the Loan Parties shall deliver to DIP Agent a
                            report of the Loan Parties daily cash balance as of the immediately
                            preceding Business Day, as detailed in the “Mandatory Prepayments”
                            section above with respect to the Excess Cash Payments.

                            Weekly: Borrowers shall deliver to the DIP Agent on Wednesday of each
                            calendar week (for the immediately preceding calendar week) a report
                            documenting and detailing:

                                (1)   all cash receipts by the Loan Parties;

                                (2)   all payments and disbursements made by the Loan Parties;

                                (3)   an updated weekly actual performance compared to the Budget on
                                      both an aggregate basis and a line-item by line-item basis (each
                                      particular line-item set forth on the Budget being referred to herein
                                      as a “Budgeted Item”), stating all variances and providing a
                                      narrative discussion and analysis by management with respect to
                                      any and all variances;

                                (4)   the number of employees employed by the Loan Parties, any third
                                      party on any Loan Party’s behalf, or otherwise for the benefit of
                                      the Loan Parties; and


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                                (5)   the number of Leased Locations (as defined below).

                            Other: The Loan Parties shall deliver internally prepared monthly
                            consolidated unaudited financial statements within 30 days of the end of
                            each calendar month.

                            All reports and financial statements to be in form and scope acceptable to
                            DIP Agent and DIP Lenders, and, as applicable, compared to Budget and
                            prior comparable period. In addition, DIP Agent may require such other
                            daily, weekly and monthly reporting of information that any of them deems
                            necessary.

 Budget Reporting:          Borrowers shall deliver to DIP Agent and DIP Lenders every four weeks an
                            updated 13-week cash flow forecast in form and detail substantially similar
                            to the Initial Budget each of which Budget shall be approved by DIP Agent
                            in writing (each an “Updated Budget”; the Initial Budget and each Updated
                            Budget, the “Budgets” and individually as a “Budget”). The initial four
                            week period of the Initial Budget and Updated Budgets shall constitute a
                            Test Period.

 Financial Covenants:       Excess Cash. As detailed in the “Mandatory Prepayments” section above,
                            the Loan Parties shall remit weekly on the next business day following the
                            Measurement Day of the week the Excess Cash Payment. Any cash on hand
                            held by Borrowers (subject to the cap in the immediately preceding
                            sentence) shall not impair or otherwise reduce Borrowers’ ability to borrow
                            up to the full Sublimit amount, subject to compliance with the applicable
                            conditions to borrowing.

                            Budget Variances. Borrowers and Guarantor shall comply with the Budget.
                            Borrowers and Guarantor shall be deemed to be in compliance with the
                            Budget so long as:

                                  (1) cash receipts are not less than the cash receipts projected in the
                                      Budget for any Test Period, tested every four weeks; provided
                                      that there shall be an allowed 12% variance to the aggregate
                                      amount of cash receipts scheduled to be received during any Test
                                      Period as set forth in the Budget for such Test Period; and

                                  (2) cash disbursements (on a Budgeted Item basis) to not exceed the
                                      cash disbursements projected in the Budget for any Test Period;
                                      provided that there shall be an allowed variance of the greater of
                                                      10

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                                       10% and $10,000 for the amount of disbursements for each
                                       Budgeted Item scheduled to be made during any Test Period as
                                       set forth in the Budget for such Test Period. For the avoidance of
                                       doubt, Borrowers’ failure to timely make any and all payments to
                                       DIP Agent and DIP Lenders required under the DIP Loan
                                       Documents and the Budget (including, without limitation, any
                                       and all mandatory prepayments), shall not be subject to any
                                       variance but shall constitute an event of default under the DIP
                                       Loan Documents.

 Other Terms:               The DIP Credit Agreement will contain additional terms, provisions and
                            covenants customary for financings of this type and other terms, provisions
                            and covenants deemed by DIP Agent and DIP Lenders in their discretion to
                            be appropriate and reasonably acceptable to Borrowers and Guarantor, and
                            in any event including, without limitation, the following:

                                •   On or before December 24, 2014, entry of an interim order by the
                                    Bankruptcy Court approving the DIP Credit Facility (the “Interim
                                    Order”), which Interim Order shall be in form and substance
                                    acceptable to DIP Agent, DIP Lenders, Borrowers and Guarantor.

                                •   Entry of a final order by the Bankruptcy Court approving the DIP
                                    Credit Facility (the “Final Order”) on or before January 23, 2015,
                                    which Final Order shall be in form and substance acceptable to DIP
                                    Agent, DIP Lenders, Borrowers and Guarantor.

                                •   The Loan Parties shall use their best efforts to cause an order to be
                                    entered by the Bankruptcy Court (in form and substance acceptable
                                    to DIP Agent in its sole and absolute discretion) on or before the
                                    date that is 60 days following the Petition Date, approving the KEIP
                                    (as defined below), with such modifications for which the Loan
                                    Parties have obtained DIP Agent’s prior written consent in
                                    connection with the Bankruptcy Court in approving the KEIP.

                                •   On or before December 31, 2014, the Loan Parties shall deliver to
                                    DIP Agent, a deposit account control agreement, deposit account
                                    services agreement or investment or securities account control
                                    agreement, as applicable, with respect to all deposit accounts and
                                    investment accounts maintained or established by any Loan Party.


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                                •   Measured as of the last day of each month, or as of the pay period
                                    nearest to that day, the total number of employees employed by the
                                    Loan Parties or any third party on any Loan Party’s behalf, or
                                    otherwise for the benefit of the Loan Parties, shall not exceed the
                                    number set forth opposite the dates indicated on Schedule 3 attached
                                    hereto, subject as of each measurement date to an allowed 10%
                                    variance.

                                •   Measured as of the last day of each month, the total number of
                                    leases for non-residential real property (each a “Leased Location”)
                                    in effect that have not expired or been rejected or otherwise
                                    terminated shall not exceed the number of Leased Locations set
                                    forth opposite such month set forth on Schedule 4 attached hereto;
                                    provided that Borrowers shall have a 30 day cure period.

                                •   On or before January 1, 2015, any contract with a third-party to
                                    provide voice-over or similar talent related services shall have either
                                    (a) terminated in accordance with its terms or (b) been rejected
                                    pursuant to an order entered by the Bankruptcy Court.

                                •   The DIP Credit Facility shall be cross-defaulted to Borrowers’ and
                                    Guarantor’s default in the payment of any of their other debt.

                                •   The Loan Parties shall be in default upon, among other defaults
                                    customary for financings of this type, the following, subject to a
                                    reasonable notice and cure periods agreeable to Borrowers, DIP
                                    Agent and DIP Lenders:

                                         o The violation of any provision of any DIP Loan Document
                                           or the Interim Order or the Final Order (as applicable);

                                         o Any change in control of any Loan Party, with the definition
                                           of “change in control” to be mutually agreeable to
                                           Borrowers, DIP Agent and DIP Lenders;

                                         o The filing of an adversary proceeding by any party in
                                           interest against DIP Agent, any DIP Lender, Pre-petition
                                           Agent, Pre-petition L/C Issuer, any Pre-petition Lender or
                                           any of their respective interests for any reason;

                                         o The payment of any advertising costs or expenses or any
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                                             other disbursements relating to or constituting advertising,
                                             excluding any amounts paid pursuant to existing case
                                             referral programs or practices;

                                         o the filing of a motion to sell substantially all of the Loan
                                           Parties’ assets, so as to constitute the Borrowers’ business,
                                           that does not provide for the indefeasible payment of the DIP
                                           Obligations in full, in cash on the sale closing date, except
                                           with respect to de minimis assets to the extent contemplated
                                           in the Budget;

                                         o the lapse or termination of Loan Parties’ exclusive periods to
                                           file and solicit a plan pursuant to section 1121 of the
                                           Bankruptcy Code;

                                         o the filing of a plan by the Loan Parties that does not provide
                                           for the indefeasible payment of the DIP Obligations in full
                                           pursuant to the terms of such plan as agreed to by
                                           Borrowers, DIP Agent and DIP Lenders, and which plan
                                           shall otherwise be satisfactory to DIP Agent and Borrowers;

                                         o the entry of an order appointing a trustee or an examiner;

                                         o the automatic stay is lifted as to any party in order to permit
                                           foreclosure on a material portion of the DIP Collateral (e.g.,
                                           $75,000 per quarter); provided that a claim under a Loan
                                           Parties’ insurance policy will not be deemed to be a
                                           foreclosure of DIP Collateral, without the prior written
                                           consent of DIP Agent;

                                         o entry of an order by a court of competent jurisdiction
                                           amending, supplementing, or otherwise modifying the
                                           Interim Order or the Final order without DIP Agent’s prior
                                           written consent;

                                         o the filing of any motion or other pleading by any committee
                                           or by any one or more of the Loan Parties seeking, or
                                           otherwise consenting to, any of the matters set forth in
                                           above;

                                         o any default under any guaranty or any other document,
                                                      13

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                                             instrument or agreement executed or delivered by Guarantor
                                             or any other guarantor; or

                                         o such other defaults determined by DIP Agent and DIP
                                           Lenders and agreeable to the Borrowers.

                                •   Rights of each of the following: inspection, access to facilities,
                                    management and auditors.

                                •   Insurance protection (terms, underwriter, scope and coverage) to be
                                    acceptable to DIP Agent and DIP Lenders; DIP Agent, on behalf of
                                    DIP Lenders, to be additional insured (on liability coverage) and
                                    loss payee (as to casualty and loss coverage); non-
                                    renewal/cancellation/amendment riders to provide 30 days’ advance
                                    notice.

                                •   As of the Closing, no material adverse change in Borrowers’
                                    business or financial condition since the date of the most recent
                                    unaudited monthly financial statements provided by Pre-petition
                                    Borrower to Pre-petition Agent on November 24, 2014; no litigation
                                    commenced which, if successful, would have a material adverse
                                    impact on Borrowers and Guarantor (considered as a group), their
                                    businesses, or their ability to repay the DIP Credit Facility or
                                    perform under the DIP Guaranties, or which would challenge the
                                    transaction under consideration.

                                •   The Loan Parties shall obtain approval and effectuate a plan
                                    contemplating a controlled liquidation that repays the DIP
                                    Obligations in full and otherwise in form and substance acceptable
                                    to Borrowers and acceptable to DIP Agent and DIP Lenders in their
                                    sole and absolute discretion (the “Plan”), in accordance with the
                                    following timeline (it being understood and agreed that Borrower
                                    shall not file or solicit any Plan for which DIP Agent and DIP
                                    Lenders have not provided their prior written consent):

                                         o Within six months of the Petition Date, Borrowers shall file
                                           the Plan and related disclosure statement, which disclosure
                                           statement shall be in form and substance acceptable to
                                           Borrowers and acceptable to DIP Agent and DIP Lenders in
                                           their sole and absolute discretion (the “Disclosure

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                                             Statement”);

                                         o Within seven months of the Petition Date, Borrowers shall
                                           cause an order to be entered by the Bankruptcy Court (in
                                           form and substance acceptable to Borrowers and acceptable
                                           to DIP Agent and DIP Lenders in their sole and absolute
                                           discretion) (i) approving the Disclosure Statement as
                                           containing adequate information required under section 1125
                                           of the Bankruptcy Code, and (ii) authorizing the use of the
                                           Disclosure Statement for soliciting votes on the and
                                           establishing solicitation procedures (the “Disclosure
                                           Statement Order”);

                                         o Within seven business days of the Bankruptcy Court’s entry
                                           of the Disclosure Statement Order, Borrowers shall
                                           distribute the Disclosure Statement and the Plan and solicit
                                           acceptance of the Plan;

                                         o Within eight months of the Petition Date, Borrowers shall
                                           use their best efforts to cause an order to be entered by the
                                           Bankruptcy Court (in form and substance acceptable to DIP
                                           Agent and DIP Lenders in their sole discretion) approving
                                           the Plan (the “Confirmation Order”); and

                                         o The Plan shall become effective within fourteen business
                                           days following entry of the Confirmation Order.

                                •   Borrowers and Guarantor represent and warrant to DIP Agent and
                                    DIP Lenders that they have not contracted with, and do not know of,
                                    any broker, to be paid by any Borrower or Guarantor, who has
                                    participated in the DIP Credit Facility or the transactions
                                    contemplated herein. Borrowers and Guarantor shall indemnify and
                                    hold DIP Agent and DIP Lenders harmless from any claim for
                                    broker’s fees or expenses in connection with the transactions
                                    contemplated hereby.

                                •   Other terms and conditions that may arise subsequent to due
                                    diligence but prior to the Petition Date which are mutually
                                    acceptable to DIP Agent, DIP Lenders and Borrowers.

                                •   The activities of Guarantor shall be limited to customary holding
                                                    15

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                                      companies (i.e., holding stock in Borrowers and related activities).

 Remedies:                  The DIP Credit Agreement will contain remedies following the occurrence
                            of a default or “termination event” that are customary for financings of this
                            type and in any event will include, without limitation, the following:

                                •     Enforcement of liens on the DIP Collateral;

                                •     Offsetting of amounts on deposit in the Loan Parties’ deposit
                                      accounts;

                                •     Ability to apply for the appointment of a receiver by any court of
                                      competent jurisdiction, to which the Loan Parties shall not object or
                                      contest; and

                                •     Lifting of automatic stay as to DIP Agent and DIP Lenders subject
                                      to a notice period agreeable to Borrowers, DIP Agent and DIP
                                      Lenders.

 Acknowledgements:          Borrowers and Guarantor will represent, stipulate, acknowledge and agree:

                                (1)       as to the aggregate principal amount of the indebtedness under
                                          the Pre-petition Credit Agreement outstanding as of the Petition
                                          Date is $23,048,232.75 (the “Pre-petition Principal Amount”)
                                          plus all other amounts included in the defined term “Pre-petition
                                          Indebtedness” in the immediately succeeding paragraph.

                                (2)       that the “Pre-petition Indebtedness” (which includes the Pre-
                                          petition Principal Amount and all interest, fees, costs, expenses
                                          and other amounts accrued and accruing thereon or at any time
                                          chargeable to any or all of the Pre-petition Loan Parties in
                                          connection with the Pre-petition Loan Documents) is (a) legal,
                                          valid, binding, and enforceable against the Pre-petition Loan
                                          Parties; and (b) not subject to any contest, objection,
                                          recoupment, defense, counterclaim, offset, claim of
                                          subordination, claim of re-characterization, claim of avoidance
                                          of any nature, attack or challenge under the Bankruptcy Code,
                                          other applicable non-bankruptcy law, equity or otherwise;

                                (3)       that as security for the payment of the Pre-petition Indebtedness,
                                          the Pre-petition Loan Parties granted to Pre-petition Agent, for
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                                         the benefit of itself, the Pre-petition L/C Issuer and the Pre-
                                         petition Lenders, security interests in and liens upon
                                         substantially all of the Pre-petition Loan Parties’ property and
                                         assets (all such property, together with all cash and non-cash
                                         proceeds thereof, the “Pre-petition Collateral” and all such liens
                                         thereon the “Pre-petition Liens”);

                                (4)      that the Pre-petition Liens (a) are legal, valid, enforceable, non-
                                         avoidable, and duly perfected security interests in and liens upon
                                         the Pre-petition Collateral, not subject to any liens or security
                                         interests except certain “Permitted Liens” to the extent legal,
                                         valid, enforceable, non-avoidable, duly perfected and have
                                         priority pursuant to applicable non-bankruptcy law and (b) were
                                         granted to Pre-petition Agent for fair consideration and
                                         reasonably     equivalent      value,     and      were    granted
                                         contemporaneously with the making of the loans and financial
                                         accommodations secured thereby; and

                                (5)      that Pre-petition Agent has a valid, duly perfected, first-priority
                                         lien upon and security interest in and to all of the cash of the
                                         Pre-petition Loan Parties, which, along with the proceeds of the
                                         Pre-petition Collateral, constitute “cash collateral” within the
                                         meaning of section 363(a) of the Bankruptcy Code.

 Due Diligence:             DIP Agent and DIP Lenders, in their sole discretion, may conduct such due
                            diligence with respect to the collateral and other materials relevant to the
                            Closing as they deem necessary and shall be satisfied in all respects with the
                            results of such due diligence. Following the Closing, DIP Agent and DIP
                            Lenders shall have the right to conduct periodic due diligence to assess the
                            on-going collateral value of Borrowers’ and Guarantor’s assets.

 Conditions Precedent The DIP Loan Documents will contain customary conditions for financings
 to the Closing of the of this type and other conditions deemed by DIP Agent and DIP Lenders in
 DIP Credit Facility:  their discretion to be appropriate, and in any event including, without
                       limitation, the following:

                                (1) The DIP Loan Documents shall be in form and substance
                                    satisfactory to DIP Agent and DIP Lenders and their counsel in their
                                    sole discretion;

                                (2) DIP Agent shall have received an initial 13-week cash flow forecast
                                                   17

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                                    setting forth all forecasted receipts and disbursements on a weekly
                                    basis for the 13-week period beginning the week of the Petition
                                    Date, broken down by week, including the anticipated weekly uses
                                    of the proceeds of the DIP Credit Facility for such period, which
                                    shall include, among other things, available cash, cash flow, trade
                                    payables and ordinary course expenses, total expenses and capital
                                    expenditures, fees and expenses relating to the DIP Credit Facility,
                                    fees and expenses related to the Bankruptcy Case, and working
                                    capital and other general corporate needs, which forecast shall be in
                                    form and substance satisfactory to DIP Agent in its sole discretion
                                    and acceptable to Borrowers and Guarantor (the “Initial DIP
                                    Budget” and together with the Updated DIP Budget, the “Budget”);

                                (3) DIP Agent shall have received a key employee incentive program
                                    for the Loan Parties and their Subsidiaries, which shall be in form
                                    and substance satisfactory to DIP Agent in its sole discretion (the
                                    “KEIP”), and the Loan Parties shall have filed with their first day
                                    motions a motion for an order approving the KEIP;

                                (4) All first day motions filed by the Loan Parties and related orders
                                    entered by the Bankruptcy Court in the Bankruptcy Case, if not
                                    related to the DIP Credit Facility, shall be in form and substance
                                    reasonably satisfactory to DIP Agent;

                                (5) The Bankruptcy Court shall have entered the Interim Order within
                                    five (5) business days following the Petition Date, in form and
                                    substance satisfactory to the DIP Agent; provided however that a
                                    reasonable delay due to the Bankruptcy Court’s schedule as a result
                                    of the December holidays shall be permissible;

                                (6) DIP Agent, for the benefit of DIP Lenders, shall have a valid and
                                    perfected lien on, and security interest in, the DIP Collateral on the
                                    basis and with the priority set forth herein; and

                                (7) Release of claims in favor of Pre-petition Agent, Pre-petition L/C
                                    Issuer, Pre-petition Lenders, DIP Agent and DIP Lenders, including,
                                    without limitation, any claims pursuant to or arising under sections
                                    502(d), 544, 545, 547, 548, 549, 550, or 553 of the Bankruptcy
                                    Code.

 Conditions Precedent            In addition to the satisfaction of the conditions on the Closing, the DIP
                                                     18

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any form or to authorize any Borrower or Guarantor to use Pre-petition Agent’s or any Pre-petition Lender’s
cash collateral or to waive any rights or remedies (under the Pre-petition Loan Documents, the Bankruptcy
Code or other applicable law) and remains subject to due diligence, credit approval and documentation and
approval of the Interim Order and the Final Order by the Bankruptcy Court. No oral communications
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commitment to extend credit in any form or to authorize any Borrower or Guarantor to use Pre-petition
Agent’s or any Pre-petition Lender’s cash collateral or to waive any rights or remedies (under the Pre-petition
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 to each DIP Loan:               Credit Agreement will contain additional conditions for each incurrence
                                 of DIP Loans customary for financings of this type, including, without
                                 limitation, the following:

                                  (1) Immediately prior to and following the funding of any DIP Loan,
                                      there shall exist no event of default or any event that, with the
                                      passing of time or the giving of notice or both, would become an
                                      event of default under the DIP Loan Documents;

                                  (2) The representations and warranties of the Loan Parties in the DIP
                                      Loan Documents shall be true and correct in all material respects;

                                  (3) The making of such DIP Loan shall not violate any requirement
                                      of law and shall not be enjoined, temporarily, preliminarily or
                                      permanently by any court of competent jurisdiction;

                                  (4) There shall have occurred no material adverse effect (as defined
                                      and agreed to by Borrowers, DIP Agent and DIP Lenders); and

                                  (5) The Interim Order (with respect to DIP Loans made prior to entry
                                      of the Final Order) or the Final Order, as the case may be, shall be
                                      in full force and effect and shall not have been reversed, vacated
                                      or stayed.

 Costs and Expenses;        All reasonable costs associated with the DIP Credit Facility, including,
 Reimbursement              without limitation, DIP Agent’s and all DIP Lenders’ out-of-pocket
 Obligation:                expenses associated with the transaction (including, without limitation, due
                            diligence expenses), professional fees, recording fees, search fees and filing
                            fees will be paid by Borrowers and Guarantor regardless of whether the
                            transaction closes. Such costs, fees and expenses shall be owed whether or
                            not the DIP Facility is consummated and the Loan Parties will remain liable
                            for same unless and until such amounts are paid in full. The Loan Parties
                            shall further indemnify and hold the DIP Lenders harmless from and against
                            any and all loss, claim, damage, liability or expense (including, without
                            limitation, reasonable attorney's fees and court costs) that the DIP Lenders
                            may suffer or incur if any of its representations or warranties made to the
                            DIP Lenders contained herein or in preparation and negotiation of this
                            Summary of Proposed Terms or the DIP Loan Documents prove to be
                            untrue or incorrect in any material respect; and, notwithstanding any
                            provision in the DIP Loan Documents, to the contrary, the Loan Parties
                            shall, jointly and severally, have full liability for the foregoing indemnity. It
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                            is the parties’ explicit intent that this Costs and Expenses Reimbursement
                            Obligation described herein constitutes a present, legally valid and binding
                            obligation.

 Indemnity:                 Other than for acts of gross negligence, fraud or willful misconduct by the
                            indemnified parties herein, Borrowers and Guarantor agree to indemnify
                            Agent, DIP Agent, Lenders and DIP Lenders, their respective directors,
                            managers officers, employees, agents, auditors, accountants, appraisers,
                            consultants, counsel and affiliates from, and agree to hold each of them
                            harmless against, any and all losses, liabilities, claims, damages or expenses
                            including amounts paid in settlement, incurred by any of them arising out of
                            or by reason of any investigation, litigation or other proceeding brought or
                            threatened by any third party relating to any loan made or proposed to be
                            made, or any other transaction contemplated, hereunder.

 Choice of Law;             Each of Borrowers, Guarantor, DIP Agent, Agent, Lenders and DIP Lenders
 Venue                      hereby consent and agree that the state or federal courts located in New
                            York County, State of New York shall have exclusive jurisdiction to hear
                            and determine any claims pertaining to this Summary of Proposed Terms.
                            This Summary of Proposed Terms shall be governed by and shall be
                            construed in accordance with the internal laws of the State of New York.

 Waiver of Trial by         To the fullest extent permitted by law, each of Borrowers, Guarantor, Agent,
 Jury:                      Lenders, DIP Agent and DIP Lenders hereby expressly waive all rights to
                            trial by jury in any litigation relating to this Summary of Proposed Terms
                            and all rights to punitive, consequential, or special damages arising out of or
                            related to this Summary of Proposed Terms or the matters referred to in this
                            Summary of Proposed Terms.

 Expiration:                The terms set forth in this Summary of Proposed Terms shall expire at 5:00
                            p.m. (prevailing Eastern time) on Monday, December 22, 2014, unless a
                            countersigned copy of this Summary of Proposed Terms has been delivered
                            to DIP Agent by such time.           In addition to the foregoing and
                            notwithstanding delivery of a countersigned copy of this Summary of
                            Proposed Terms, if the Interim Order (in form and substance acceptable to
                            DIP Agent, DIP Lenders, Borrowers and Guarantor) is not entered by the
                            Bankruptcy Court on or before December 24, 2014, this Summary of
                            Proposed Terms shall expire and be of no further force or effect. For the
                            avoidance of doubt, notwithstanding the foregoing, the present, legally valid
                            and binding obligations of Borrowers and Guarantors under the “Costs and
                            Expenses Reimbursement Obligation” paragraph above shall survive any
                                                    20

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any form or to authorize any Borrower or Guarantor to use Pre-petition Agent’s or any Pre-petition Lender’s
cash collateral or to waive any rights or remedies (under the Pre-petition Loan Documents, the Bankruptcy
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                            expiration or termination of this Summary of Proposed Terms.

THIS SUMMARY OF PROPOSED TERMS IS ONLY AN EXPRESSION OF INTEREST IN
CONSIDERING A TRANSACTION BASED ON THE GENERAL TERMS AND CONDITIONS
OUTLINED ABOVE. IT IS NOT INTENDED TO AND DOES NOT CREATE ANY BINDING
LEGAL OBLIGATION ON THE PART OF ANY PERSON OR ENTITY TO AGREE TO PROVIDE
FINANCING OR TO AUTHORIZE ANY BORROWER’S OR GUARANTOR’S USE OF CASH
COLLATERAL ON AN INTERIM OR FINAL BASIS. THIS SUMMARY OF PROPOSED TERMS
IS NOT, AND IS NOT TO BE CONSTRUED AS, AN OFFER OR COMMITMENT TO PROVIDE
FINANCING OR TO AUTHORIZE ANY BORROWER’S OR GUARANTOR’S USE OF CASH
COLLATERAL ON AN INTERIM OR FINAL BASIS. ANY SUCH OFFER OR COMMITMENT
BY ANY PERSON WOULD BE IN WRITING, WOULD BE PRECEDED BY THE
SATISFACTORY COMPLETION OF CREDIT REVIEW, AND THE RECEIPT OF ALL
REQUISITE APPROVALS (INCLUDING INTERNAL CREDIT COMMITTEE APPROVAL), IF
ANY, AND ITS EFFECTIVENESS WOULD BE CONDITIONED UPON THE PRIOR
EXECUTION AND DELIVERY OF FINAL DOCUMENTATION ACCEPTABLE TO ALL
PARTIES AND THEIR RESPECTIVE COUNSEL AND APPROVED BY THE BANKRUPTCY
COURT. NO LIABILITY OR OBLIGATION OF ANY NATURE WHATSOEVER IS INTENDED
TO BE CREATED BY THIS SUMMARY OF PROPOSED TERMS, EXCEPT THE PRESENT,
LEGALLY VALID AND BINDING COSTS AND EXPENSES REIMBURSEMENT OBLIGATION.
THIS SUMMARY OF PROPOSED TERMS IS NOT INTENDED TO CONSTITUTE A BINDING
AGREEMENT BETWEEN THE PARTIES, EXCEPT FOR THE PRESENT, LEGALLY VALID
AND BINDING COSTS AND EXPENSES REIMBURSEMENT OBLIGATION

                               [Remainder of page left intentionally blank.]




                                                      21

This Summary of Proposed Terms is for discussion purposes only. This is not a commitment to extend credit in
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If the terms and conditions of this letter are satisfactory, please sign the enclosed copy of this letter and
return it to my attention. If you have any questions please call the DIP Agent.



Very Truly Yours,

U.S. BANK NATIONAL ASSOCIATION, as DIP Agent
and a DIP Lender

By:
Name:
Title:

CAPITAL ONE, NATIONAL ASSOCIATION, as a DIP Lender

By:
Name:
Title:




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The foregoing is accepted and agreed to:

BINDER & BINDER – THE NATIONAL SOCIAL
SECURITY DISABILITY ADVOCATES LLC
BINDER & BINDER – THE NATIONAL SOCIAL
SECURITY DISABILITY ADVOCATES (CA), LLC
BINDER & BINDER THE NATIONAL SOCIAL
SECURITY DISABILITY ADVOCATES (CO), LLC
BINDER & BINDER – THE NATIONAL SOCIAL
SECURITY DISABILITY ADVOCATES (FL), LLC
BINDER & BINDER – THE NATIONAL SOCIAL
SECURITY DISABILITY ADVOCATES (GA), LLC
BINDER & BINDER – THE NATIONAL SOCIAL
SECURITY DISABILITY ADVOCATES (IL), LLC
BINDER & BINDER – THE NATIONAL SOCIAL
SECURITY DISABILITY ADVOCATES (NC), LLC
BINDER & BINDER – THE NATIONAL SOCIAL
SECURITY DISABILITY ADVOCATES (NJ), LLC
BINDER & BINDER – THE NATIONAL SOCIAL
SECURITY DISABILITY ADVOCATES (NY), LLC
BINDER & BINDER – THE NATIONAL SOCIAL
SECURITY DISABILITY ADVOCATES (PA), LLC
BINDER & BINDER – THE NATIONAL SOCIAL
SECURITY DISABILITY ADVOCATES (TX), LLC
BINDER & BINDER – THE NATIONAL SOCIAL
SECURITY DISABILITY ADVOCATES (WA), LLC
THE SOCIAL SECURITY EXPRESS LTD.
THE REP FOR VETS LLC
NATIONAL VETERANS DISABILITY ADVOCATES LLC
SSDI HOLDINGS, INC.
BINDER & BINDER – THE NATIONAL SOCIAL
SECURITY DISABILITY ADVOCATES (AZ), LLC
BINDER & BINDER – THE NATIONAL SOCIAL
SECURITY DISABILITY ADVOCATES (CT), LLC
BINDER & BINDER – THE NATIONAL SOCIAL
SECURITY DISABILITY ADVOCATES (DC), LLC
BINDER & BINDER – THE NATIONAL SOCIAL
SECURITY DISABILITY ADVOCATES (LA), LLC
BINDER & BINDER – THE NATIONAL SOCIAL
SECURITY DISABILITY ADVOCATES (MD), LLC
                                                      23

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BINDER & BINDER – THE NATIONAL SOCIAL
SECURITY DISABILITY ADVOCATES (MI), LLC
BINDER & BINDER – THE NATIONAL SOCIAL
SECURITY DISABILITY ADVOCATES (MO), LLC
BINDER & BINDER – THE NATIONAL SOCIAL
SECURITY DISABILITY ADVOCATES (OH), LLC
BINDER & BINDER – THE NATIONAL SOCIAL
SECURITY DISABILITY ADVOCATES VA, LLC


By:
Name:
Title:
Date:




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                                                    Exhibit A



                               Borrower                                          Jurisdiction of Organization
Binder & Binder – The National Social Security Disability Advocates                         California
(CA), LLC
Binder & Binder The National Social Security Disability Advocates                           Colorado
(CO), LLC
Binder & Binder – The National Social Security Disability Advocates                          Florida
(FL), LLC
Binder & Binder – The National Social Security Disability Advocates                          Georgia
(GA), LLC
Binder & Binder – The National Social Security Disability Advocates                          Illinois
(IL), LLC
Binder & Binder – The National Social Security Disability Advocates                      North Carolina
(NC), LLC
Binder & Binder – The National Social Security Disability Advocates                        New Jersey
(NJ), LLC
Binder & Binder – The National Social Security Disability Advocates                        New York
(NY), LLC
Binder & Binder – The National Social Security Disability Advocates                       Pennsylvania
(PA), LLC
Binder & Binder – The National Social Security Disability Advocates                           Texas
(TX), LLC
Binder & Binder – The National Social Security Disability Advocates                        Washington
(WA), LLC
The Social Security Express Ltd.                                                            New York
The Rep for Vets LLC                                                                         Florida
National Veterans Disability Advocates LLC                                                   Florida
Binder & Binder – The National Social Security Disability Advocates                          Arizona
(AZ), LLC
Binder & Binder – The National Social Security Disability Advocates                        Connecticut
(CT), LLC

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                               Borrower                                          Jurisdiction of Organization
Binder & Binder – The National Social Security Disability Advocates                   District of Columbia
(DC), LLC
Binder & Binder – The National Social Security Disability Advocates                         Louisiana
(LA), LLC
Binder & Binder – The National Social Security Disability Advocates                         Maryland
(MD), LLC
Binder & Binder – The National Social Security Disability Advocates                         Michigan
(MI), LLC
Binder & Binder – The National Social Security Disability Advocates                         Missouri
(MO), LLC
Binder & Binder – The National Social Security Disability Advocates                           Ohio
(OH), LLC
Binder & Binder – The National Social Security Disability Advocates                          Virginia
VA, LLC




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                                                 Schedule 1

                       Minimum Cumulative Roll-up DIP Obligation Payments

                                                              Minimum Cumulative
                       Roll-up DIP Repayment                Repayments on the Roll-up
                             Test Dates                     DIP Obligations Since the
                                                                  Petition Date
                  May 31, 2015                                       $1,800,000
                  June 30, 2015                                      $3,100,000
                  July 31, 2015                                      $4,900,000
                  August 31, 2015                                    $6,900,000
                  September 30, 2015                                 $8,300,000
                  October 31, 2015                                   $8,800,000
                  November 30, 2015                                  $10,400,000
                  December 31, 2015                                  $11,700,000
                  January 31, 2016                                   $14,000,000
                  February 29, 2016                                  $16,200,000
                  March 31, 2016                                     $16,800,000
                  April 30, 2016                                     $17,800,000
                  May 31, 2016                                       $19,100,000
                  June 30, 2016                                      $19,200,000
                  July 31, 2016                                      $20,700,000
                  August 31, 2016                                    $22,000,000




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                                                 Schedule 2

                                             Wind-Down Fund

                                                               Maximum Cumulative
                                   Month                      Amount Funded into the
                                                                Wind-Down Fund
                     June 2015                                        $160,000
                     July 2015                                        $390,000
                     August 2015                                      $630,000
                     September 2015                                   $800,000
                     October 2015                                     $860,000
                     November 2015                                   $1,050,000
                     December 2015                                   $1,210,000
                     January 2016                                    $1,500,000
                     February 2016                                   $2,050,000
                     March 2016                                      $2,200,000
                     April 2016                                      $2,450,000
                     May 2016                                        $2,500,000
                     June 2016                                       $2,500,000
                     July 2016                                       $2,500,000
                     August 2016                                     $2,500,000




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                                                 Schedule 3

                                      Employee Headcount Summary

                                               (See attached)




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BINDER	  &	  BINDER                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           CONFIDENTIAL	  DRAFT
Headcount	  Summary
Job	  Function                                                       Oct-­‐14 Nov-­‐14 Dec-­‐14 Jan-­‐15 Feb-­‐15 Mar-­‐15 Apr-­‐15 May-­‐15 Jun-­‐15 Jul-­‐15 Aug-­‐15 Sep-­‐15 Oct-­‐15 Nov-­‐15 Dec-­‐15
                                                                          actual
Accounting                                                            	  	  	  	  	  	  	  	  	  4   	  	  	  	  	  	  	  	  	  4   	  	  	  	  	  	  	  	  	  4   	  	  	  	  	  	  	  	  	  4   	  	  	  	  	  	  	  	  	  4   	  	  	  	  	  	  	  	  	  4   	  	  	  	  	  	  	  	  	  4   	  	  	  	  	  	  	  	  	  	  4   	  	  	  	  	  	  	  	  	  4   	  	  	  	  	  	  	  	  	  4   	  	  	  	  	  	  	  	  	  4   	  	  	  	  	  	  	  	  	  4   	  	  	  	  	  	  	  	  	  4   	  	  	  	  	  	  	  	  	  4   	  	  	  	  	  	  	  	  	  4
Advocates                                                             	  	  	  	  	  105                 	  	  	  	  	  105                 	  	  	  	  	  105                 	  	  	  	  	  105                 	  	  	  	  	  105                 	  	  	  	  	  105                 	  	  	  	  	  105                 	  	  	  	  	  105
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                                                                                                                                                                                                                                                                                                                                                                                                                                               	   $	  	  	  	  	  240
                                                                                                                                                                                                                                                                                                                                                                                                                                                                         	  
Active	  cases:
    Initial	  application	  &	  recon.                            	  	  15,718 	  	  15,536 	  	  15,197 	  	  14,107 	  	  12,609 	  	  10,943 	  	  	  	  8,961 	  	  	  	  	  7,136 	  	  	  	  5,286 	  	  	  	  3,411 	  	  	  	  2,011 	  	  	  	  1,111 	  	  	  	  	  	  	  661
                                                                                                                                                                                                                                                                                                                                   	   	  	  	  	  	  	  	  511
                                                                                                                                                                                                                                                                                                                                                                    	   	  	  	  	  	  	  	  	  -­‐	  
    Hearing                                                          	  	  32,011 	  	  32,151 	  	  32,356 	  	  32,726 	  	  33,021 	  	  33,283 	  	  33,573 	  	  	  33,345 	  	  33,138 	  	  32,951 	  	  32,395 	  	  31,445 	  	  30,151 	  	  28,620 	  	  27,058
    Appeals                                                          	  	  10,239 	  	  	  	  9,856 	  	  	  	  9,463 	  	  	  	  9,153 	  	  	  	  8,850 	  	  	  	  8,560 	  	  	  	  8,283 	  	  	  	  	  8,010 	  	  	  	  7,753 	  	  	  	  7,512 	  	  	  	  7,287 	  	  	  	  7,075 	  	  	  	  6,876 	  	  	  	  6,690 	  	  	  	  6,515
       Total	  active	  cases	  ("backlog")                       	  	  57,968 	  	  57,543 	  	  57,016 	  	  55,986 	  	  54,480 	  	  52,786 	  	  50,817 	  	  	  48,491 	  	  46,177 	  	  43,874 	  	  41,693 	  	  39,631 	  	  37,688 	  	  35,821 	  	  33,573
Total	  caseworkers                                                  	  	  	  	  	  288 	  	  	  	  	  288 	  	  	  	  	  286 	  	  	  	  	  286 	  	  	  	  	  292 	  	  	  	  	  292 	  	  	  	  	  292 	  	  	  	  	  292
                                                                                                                                                                                                                                                                  	   	  	  	  	  	  292 	  	  	  	  	  262 	  	  	  	  	  262 	  	  	  	  	  272 	  	  	  	  	  268 	  	  	  	  	  268 	  	  	  	  	  256
#	  cases	  per	  Caseworker1                                      	  	  	  	  	  166 	  	  	  	  	  166 	  	  	  	  	  166 	  	  	  	  	  164 	  	  	  	  	  156 	  	  	  	  	  151 	  	  	  	  	  146 	  	  	  	  	  139
                                                                                                                                                                                                                                                                  	   	  	  	  	  	  132 	  	  	  	  	  139 	  	  	  	  	  131 	  	  	  	  	  120 	  	  	  	  	  115 	  	  	  	  	  109 	  	  	  	  	  106
                                      1
#	  cases	  per	  Clerical                                         	  	  	  	  	  295 	  	  	  	  	  294 	  	  	  	  	  295 	  	  	  	  	  284 	  	  	  	  	  283 	  	  	  	  	  275 	  	  	  	  	  264 	  	  	  	  	  251
                                                                                                                                                                                                                                                                  	   	  	  	  	  	  239 	  	  	  	  	  236 	  	  	  	  	  223 	  	  	  	  	  211 	  	  	  	  	  200 	  	  	  	  	  189 	  	  	  	  	  184
1	  -­‐	  Number	  of	  cases	  used	  for	  these	  metrics	  excludes	  
	  	  	  	  	  	  appeals	  cases


                                                                                                                                                                                                                                                                                      10
                                 14-23728-rdd                       Doc 1                                            Filed 12/18/14 Entered 12/18/14 23:11:33                                                                                                                                                                                                                                                Main Document
                                                                                                                                  Pg 46 of 52
BINDER	  &	  BINDER
                 CONFIDENTIAL	  DRAFT                                                                                                                                                                                                                                                                                                                                                                                                                            CONFIDENTIAL	  DRAFT
Headcount	  Summary
Job	  Function                                                        Jan-­‐16 Feb-­‐16 Mar-­‐16 Apr-­‐16 May-­‐16 Jun-­‐16 Jul-­‐16 Aug-­‐16 Sep-­‐16 Oct-­‐16 Nov-­‐16 Dec-­‐16

Accounting                                                            	  	  	  	  	  	  	  	  	  4    	  	  	  	  	  	  	  	  	  4    	  	  	  	  	  	  	  	  	  4     	  	  	  	  	  	  	  	  	  4    	  	  	  	  	  	  	  	  	  	  4   	  	  	  	  	  	  	  	  	  4     	  	  	  	  	  	  	  	  	  4    	  	  	  	  	  	  	  	  	  4    	  	  	  	  	  	  	  	  	  4    	  	  	  	  	  	  	  	  	  4     	  	  	  	  	  	  	  	  	  4    	  	  	  	  	  	  	  	  	  4
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Fed	  Court	  Casework                                              	  	  	  	  	  	  	  	  	  4    	  	  	  	  	  	  	  	  	  4    	  	  	  	  	  	  	  	  	  4     	  	  	  	  	  	  	  	  	  4    	  	  	  	  	  	  	  	  	  	  4   	  	  	  	  	  	  	  	  	  4     	  	  	  	  	  	  	  	  	  4    	  	  	  	  	  	  	  	  	  4    	  	  	  	  	  	  	  	  	  4    	  	  	  	  	  	  	  	  	  4     	  	  	  	  	  	  	  	  	  4    	  	  	  	  	  	  	  	  	  4
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Hearing	  Casework                                                   	  	  	  	  	  132                  	  	  	  	  	  132                  	  	  	  	  	  132                   	  	  	  	  	  132                  	  	  	  	  	  132
                                                                                                                                                                                                                                                               	                      	  	  	  	  	  117                   	  	  	  	  	  	  	  88           	  	  	  	  	  	  	  70           	  	  	  	  	  	  	  70           	  	  	  	  	  	  	  69            	  	  	  	  	  	  	  69           	  	  	  	  	  	  	  69
I	  A	  Recon                                                       	  	  	  	  	  -­‐	                	  	  	  	  	  -­‐	                	  	  	  	  	  -­‐	                 	  	  	  	  	  -­‐	                	  	  	  	  	  	  -­‐	               	  	  	  	  	  -­‐	                 	  	  	  	  	  -­‐	                	  	  	  	  	  -­‐	                	  	  	  	  	  -­‐	                	  	  	  	  	  -­‐	                 	  	  	  	  	  -­‐	                	  	  	  	  	  -­‐	  
IA/Hearing                                                            	  	  	  	  	  	  	  13           	  	  	  	  	  	  	  13           	  	  	  	  	  	  	  13            	  	  	  	  	  	  	  13           	  	  	  	  	  	  	  	  13          	  	  	  	  	  	  	  13            	  	  	  	  	  	  	  13           	  	  	  	  	  	  	  13           	  	  	  	  	  	  	  13           	  	  	  	  	  	  	  12            	  	  	  	  	  	  	  12           	  	  	  	  	  	  	  12
Interview                                                             	  	  	  	  	  -­‐	                	  	  	  	  	  -­‐	                	  	  	  	  	  -­‐	                 	  	  	  	  	  -­‐	                	  	  	  	  	  	  -­‐	               	  	  	  	  	  -­‐	                 	  	  	  	  	  -­‐	                	  	  	  	  	  -­‐	                	  	  	  	  	  -­‐	                	  	  	  	  	  -­‐	                 	  	  	  	  	  -­‐	                	  	  	  	  	  -­‐	  
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Open	  Files                                                         	  	  	  	  	  -­‐	                	  	  	  	  	  -­‐	                	  	  	  	  	  -­‐	                 	  	  	  	  	  -­‐	                	  	  	  	  	  	  -­‐	               	  	  	  	  	  -­‐	                 	  	  	  	  	  -­‐	                	  	  	  	  	  -­‐	                	  	  	  	  	  -­‐	                	  	  	  	  	  -­‐	                 	  	  	  	  	  -­‐	                	  	  	  	  	  -­‐	  
Operator                                                              	  	  	  	  	  	  	  17           	  	  	  	  	  	  	  17           	  	  	  	  	  	  	  17            	  	  	  	  	  	  	  17           	  	  	  	  	  	  	  	  17          	  	  	  	  	  	  	  17            	  	  	  	  	  	  	  17           	  	  	  	  	  	  	  17           	  	  	  	  	  	  	  17           	  	  	  	  	  	  	  17            	  	  	  	  	  	  	  17           	  	  	  	  	  	  	  17
Travel                                                                	  	  	  	  	  	  	  	  	  5    	  	  	  	  	  	  	  	  	  5    	  	  	  	  	  	  	  	  	  5     	  	  	  	  	  	  	  	  	  5    	  	  	  	  	  	  	  	  	  	  5   	  	  	  	  	  	  	  	  	  5     	  	  	  	  	  	  	  	  	  5    	  	  	  	  	  	  	  	  	  5    	  	  	  	  	  	  	  	  	  5    	  	  	  	  	  	  	  	  	  5     	  	  	  	  	  	  	  	  	  5    	  	  	  	  	  	  	  	  	  5
Writer                                                                	  	  	  	  	  	  	  37           	  	  	  	  	  	  	  37           	  	  	  	  	  	  	  37            	  	  	  	  	  	  	  37           	  	  	  	  	  	  	  	  37          	  	  	  	  	  	  	  37            	  	  	  	  	  	  	  37           	  	  	  	  	  	  	  30           	  	  	  	  	  	  	  30           	  	  	  	  	  	  	  30            	  	  	  	  	  	  	  30           	  	  	  	  	  	  	  30
      Grand	  Total                                                  	  	  	  	  458
                                                                                      	                       	  	  	  	  458
                                                                                                                               	                       	  	  	  	  458
                                                                                                                                                                        	                        	  	  	  	  458
                                                                                                                                                                                                                  	                       	  	  	  	  	  444
                                                                                                                                                                                                                                                               	                      	  	  	  	  429
                                                                                                                                                                                                                                                                                                       	                        	  	  	  	  397
                                                                                                                                                                                                                                                                                                                                                 	                       	  	  	  	  372
                                                                                                                                                                                                                                                                                                                                                                                          	                       	  	  	  	  360
                                                                                                                                                                                                                                                                                                                                                                                                                                   	                       	  	  	  	  355
                                                                                                                                                                                                                                                                                                                                                                                                                                                                            	                        	  	  	  	  355
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      	                       	  	  	  	  355
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               	  
Bi-­‐wkly	  pay	  (incl.	  ER	  taxes)	  -­‐	  000's	  USD    $	  	  	  	  	  860
                                                                                          	   $	  	  	  	  	  860
                                                                                                                    	   $	  	  	  	  	  860
                                                                                                                                              	   $	  	  	  	  	  860
                                                                                                                                                                        	   $	  	  	  	  	  	  840 $	  	  	  	  	  820
                                                                                                                                                                                                                               	   $	  	  	  	  	  780
                                                                                                                                                                                                                                                         	   $	  	  	  	  	  740
                                                                                                                                                                                                                                                                                   	   $	  	  	  	  	  730
                                                                                                                                                                                                                                                                                                             	   $	  	  	  	  	  720
                                                                                                                                                                                                                                                                                                                                       	   $	  	  	  	  	  720
                                                                                                                                                                                                                                                                                                                                                                 	   $	  	  	  	  	  720
                                                                                                                                                                                                                                                                                                                                                                                           	  
Employee	  benefits	  -­‐000's	  USD                              $	  	  	  	  	  160
                                                                                          	   $	  	  	  	  	  160
                                                                                                                    	   $	  	  	  	  	  160
                                                                                                                                              	   $	  	  	  	  	  160
                                                                                                                                                                        	   $	  	  	  	  	  	  160 $	  	  	  	  	  150
                                                                                                                                                                                                                               	   $	  	  	  	  	  140
                                                                                                                                                                                                                                                         	   $	  	  	  	  	  130
                                                                                                                                                                                                                                                                                   	   $	  	  	  	  	  130
                                                                                                                                                                                                                                                                                                             	   $	  	  	  	  	  120
                                                                                                                                                                                                                                                                                                                                       	   $	  	  	  	  	  120
                                                                                                                                                                                                                                                                                                                                                                 	   $	  	  	  	  	  120
                                                                                                                                                                                                                                                                                                                                                                                           	  
Active	  cases:
    Initial	  application	  &	  recon.                            	  	  	  	  	  	  	  	  -­‐	   	  	  	  	  	  	  	  	  -­‐	   	  	  	  	  	  	  	  	  -­‐	   	  	  	  	  	  	  	  	  -­‐	   	  	  	  	  	  	  	  	  	  -­‐           	  	  	  	  	  	  	  	  -­‐	   	  	  	  	  	  	  	  	  -­‐	   	  	  	  	  	  	  	  	  -­‐	   	  	  	  	  	  	  	  	  -­‐	   	  	  	  	  	  	  	  	  -­‐	   	  	  	  	  	  	  	  	  -­‐	   	  	  	  	  	  	  	  	  -­‐	  
    Hearing                                                          	  	  25,490 	  	  23,944 	  	  22,420 	  	  20,918 	  	  	  19,438                                                                                                                                    	  	  18,005 	  	  16,669 	  	  15,379 	  	  14,186 	  	  13,089 	  	  12,087 	  	  11,181
    Appeals                                                          	  	  	  	  6,335 	  	  	  	  6,161 	  	  	  	  5,983 	  	  	  	  5,811 	  	  	  	  	  5,645 	  	  	  	  5,469 	  	  	  	  5,263 	  	  	  	  5,051 	  	  	  	  4,821 	  	  	  	  4,565 	  	  	  	  4,285 	  	  	  	  3,982
       Total	  active	  cases	  ("backlog")                       	  	  31,825 	  	  30,105 	  	  28,403 	  	  26,729 	  	  	  25,083 	  	  23,474 	  	  21,932 	  	  20,430 	  	  19,007 	  	  17,654 	  	  16,372 	  	  15,163
Total	  caseworkers                                                  	  	  	  	  	  145 	  	  	  	  	  145 	  	  	  	  	  145 	  	  	  	  	  145 	  	  	  	  	  145
                                                                                                                                                                                          	   	  	  	  	  	  130 	  	  	  	  	  101 	  	  	  	  	  	  	  83 	  	  	  	  	  	  	  83 	  	  	  	  	  	  	  81 	  	  	  	  	  	  	  81 	  	  	  	  	  	  	  81
#	  cases	  per	  Caseworker1                                      	  	  	  	  	  176 	  	  	  	  	  165 	  	  	  	  	  155 	  	  	  	  	  144 	  	  	  	  	  134
                                                                                                                                                                                          	   	  	  	  	  	  139 	  	  	  	  	  165 	  	  	  	  	  185 	  	  	  	  	  171 	  	  	  	  	  162 	  	  	  	  	  149 	  	  	  	  	  138
                                      1
#	  cases	  per	  Clerical                                         	  	  	  	  	  327 	  	  	  	  	  307 	  	  	  	  	  287 	  	  	  	  	  268 	  	  	  	  	  304
                                                                                                                                                                                          	   	  	  	  	  	  281 	  	  	  	  	  260 	  	  	  	  	  240 	  	  	  	  	  273 	  	  	  	  	  267 	  	  	  	  	  247 	  	  	  	  	  228
1	  -­‐	  Number	  of	  cases	  used	  for	  these	  metrics	  excludes	  
	  	  	  	  	  	  appeals	  cases


                                                                                                                                                                                                                                    11
 14-23728-rdd       Doc 1      Filed 12/18/14 Entered 12/18/14 23:11:33                 Main Document
                                            Pg 47 of 52



                                                 Schedule 4

                                              Leased Location

                                               (See attached)




This Summary of Proposed Terms is for discussion purposes only. This is not a commitment to extend credit in
any form or to authorize any Borrower or Guarantor to use Pre-petition Agent’s or any Pre-petition Lender’s
cash collateral or to waive any rights or remedies (under the Pre-petition Loan Documents, the Bankruptcy
Code or other applicable law) and remains subject to due diligence, credit approval and documentation and
approval of the Interim Order and the Final Order by the Bankruptcy Court. No oral communications
between the parties shall be deemed to supersede this Summary of Proposed Terms or indicate any
commitment to extend credit in any form or to authorize any Borrower or Guarantor to use Pre-petition
Agent’s or any Pre-petition Lender’s cash collateral or to waive any rights or remedies (under the Pre-petition
Loan Documents, the Bankruptcy Code or applicable law).
                                                      14-23728-rdd                                                    Doc 1                                                  Filed 12/18/14 Entered 12/18/14 23:11:33                                                                                                                                                                                                                                                   Main Document
                                                                                                                                                                                          Pg 48 of 52
BINDER	  &	  BINDER                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     CONFIDENTIAL	  DRAFT
Wind-­‐Down	  Summary
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Estimated	  Cases
                                                                                                                                                                                                                                                                                                                                   Total	  Bi	                                                                      Active	  
                                                                            Month	                                                	  Monthly	                                                                                                                       Total	                                                     Weekly	                                                                             Cases	  
City                                       Landlord                         Vacated                                                            Rent	   Lease	  Term                                                                                Employees                                                                        Payroll                                            Cases	  to     (9/12/14)                                                      12/31/14                                                3/31/15                                               6/30/15                                              12/31/15                                            6/30/16
Sacramento               Regus	  Management	  Group,	  LLC               Dec-­‐14                                               $	  	  	  	  	  	  2,009
                                                                                                                                                            	                  May-­‐14                                                             	  	  	  	  	  	  	  	  	  	  	  	  	  -­‐                 $	  	  	  	  	  	  	  	  	  	  	  	  	  -­‐    Hayward         	  	  	  	  	  	  	  	  	  	  	  	  158            	  	  	  	  	  	  	  	  	  	  -­‐	         	  	  	  	  	  	  	  	  	  	  -­‐	         	  	  	  	  	  	  	  	  	  	  -­‐	          	  	  	  	  	  	  	  	  	  	  -­‐	     	  	  	  	  	  	  	  	  	  	  -­‐	  
San	  Diego             Regus	  Management	  Group,	  LLC               Dec-­‐14                                               $	  	  	  	  	  	  2,448
                                                                                                                                                            	                  Apr-­‐15                                                             	  	  	  	  	  	  	  	  	  	  	  	  	  -­‐                 $	  	  	  	  	  	  	  	  	  	  	  	  	  -­‐    Hayward         	  	  	  	  	  	  	  	  	  	  	  	  115            	  	  	  	  	  	  	  	  	  	  -­‐	         	  	  	  	  	  	  	  	  	  	  -­‐	         	  	  	  	  	  	  	  	  	  	  -­‐	          	  	  	  	  	  	  	  	  	  	  -­‐	     	  	  	  	  	  	  	  	  	  	  -­‐	  
Seattle                  Hammer	  Co.	  LP	  &	  Clise,	  Inc.         Dec-­‐14                                               $	  	  	  	  	  	  3,744
                                                                                                                                                            	                  Mar-­‐19                                                             	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  7	     $	  	  	  	  	  	  12,918
                                                                                                                                                                                                                                                                                                                                                      	                                 Hayward         	  	  	  	  	  	  	  	  	  	  	  	  423            	  	  	  	  	  	  	  	  	  	  -­‐	         	  	  	  	  	  	  	  	  	  	  -­‐	         	  	  	  	  	  	  	  	  	  	  -­‐	          	  	  	  	  	  	  	  	  	  	  -­‐	     	  	  	  	  	  	  	  	  	  	  -­‐	  
Houston                  Esko	  Houston,	  LLC                             Jun-­‐15                                              $	  	  	  	  	  	  4,602
                                                                                                                                                            	                  May-­‐19                                                             	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  9	     $	  	  	  	  	  	  13,987
                                                                                                                                                                                                                                                                                                                                                      	                                  Dallas         	  	  	  	  	  	  	  	  	  	  	  	  609             	  	  	  	  	  	  	  	  	  570
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             	                	  	  	  	  	  	  	  	  	  534
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   	               	  	  	  	  	  	  	  	  	  	  -­‐	          	  	  	  	  	  	  	  	  	  	  -­‐	     	  	  	  	  	  	  	  	  	  	  -­‐	  
Los	  Angeles           SMII	  Sepulveda	  Center	  LLC                 Dec-­‐15                                               $	  	  	  	  11,341                      Dec-­‐15                                                             	  	  	  	  	  	  	  	  	  	  	  	  	  	  10
                                                                                                                                                                                                                                                                                                             	              $	  	  	  	  	  	  16,168
                                                                                                                                                                                                                                                                                                                                                      	                                 Hayward         	  	  	  	  	  	  	  	  	  	  	  	  759             	  	  	  	  	  	  	  	  	  710
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             	                	  	  	  	  	  	  	  	  	  665
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   	                	  	  	  	  	  	  	  	  	  623
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         	                 	  	  	  	  	  	  	  	  	  543
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                	           	  	  	  	  	  	  	  	  	  	  -­‐	  
San	  Bernardino        Arrowhead	  Prof.	  Center                       Dec-­‐15                                               $	  	  	  	  	  	  4,836
                                                                                                                                                            	                  Oct-­‐16                                                             	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  9	     $	  	  	  	  	  	  11,574
                                                                                                                                                                                                                                                                                                                                                      	                                 Hayward         	  	  	  	  	  	  	  	  	  	  	  	  986             	  	  	  	  	  	  	  	  	  429
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             	                	  	  	  	  	  	  	  	  	  402
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   	                	  	  	  	  	  	  	  	  	  376
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         	                	  	  	  	  	  	  	  	  	  	  -­‐	     	  	  	  	  	  	  	  	  	  	  -­‐	  
Dallas                   Hartman	  1960	  Properties,	  LLC               Jun-­‐16                                              $	  	  	  	  	  	  4,923
                                                                                                                                                            	                  Dec-­‐16                                                             	  	  	  	  	  	  	  	  	  	  	  	  	  	  14
                                                                                                                                                                                                                                                                                                             	              $	  	  	  	  	  	  22,693
                                                                                                                                                                                                                                                                                                                                                      	                                 Hayward         	  	  	  	  	  	  	  	  	  	  	  	  986             	  	  	  	  	  	  	  	  	  922
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             	                	  	  	  	  	  	  	  	  	  864
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   	               	  	  	  	  	  	  1,301
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            	                             	  	  	  	  	  	  1,133
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   	                         	  	  	  	  	  	  	  	  	  496
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  	  
Hayward                  City	  Center	  Commercial                       Phase	  II                                            $	  	  	  	  	  	  9,555
                                                                                                                                                            	                  May-­‐15                                                             	  	  	  	  	  	  	  	  	  	  	  	  	  	  18
                                                                                                                                                                                                                                                                                                             	              $	  	  	  	  	  	  39,242
                                                                                                                                                                                                                                                                                                                                                      	                                                	  	  	  	  	  	  	  	  1,506
                                                                                                                                                                                                                                                                                                                                                                                                                                        	                              	  	  	  	  	  	  2,061
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                	                            	  	  	  	  	  	  1,931
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      	                            	  	  	  	  	  	  1,808
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            	                             	  	  	  	  	  	  1,887
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   	                        	  	  	  	  	  	  2,654
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     	  
Atlanta/Decatur          Parmenter	  Clairmont	  LLC                      Nov-­‐14                                               $	  	  	  	  	  	  5,435
                                                                                                                                                            	                  Nov-­‐14                                                             	  	  	  	  	  	  	  	  	  	  	  	  	  	  11
                                                                                                                                                                                                                                                                                                             	              $	  	  	  	  	  	  16,880
                                                                                                                                                                                                                                                                                                                                                      	                                  Tampa          	  	  	  	  	  	  	  	  	  	  	  	  426            	  	  	  	  	  	  	  	  	  	  -­‐	         	  	  	  	  	  	  	  	  	  	  -­‐	         	  	  	  	  	  	  	  	  	  	  -­‐	          	  	  	  	  	  	  	  	  	  	  -­‐	     	  	  	  	  	  	  	  	  	  	  -­‐	  
Raleigh                  Highwoods	  Realty	  LP                          Nov-­‐14                                               $	  	  	  	  	  	  7,751
                                                                                                                                                            	                  Aug-­‐16                                                             	  	  	  	  	  	  	  	  	  	  	  	  	  	  12
                                                                                                                                                                                                                                                                                                             	              $	  	  	  	  	  	  16,765
                                                                                                                                                                                                                                                                                                                                                      	                                  Tampa          	  	  	  	  	  	  	  	  	  	  	  	  480            	  	  	  	  	  	  	  	  	  	  -­‐	         	  	  	  	  	  	  	  	  	  	  -­‐	         	  	  	  	  	  	  	  	  	  	  -­‐	          	  	  	  	  	  	  	  	  	  	  -­‐	     	  	  	  	  	  	  	  	  	  	  -­‐	  
Orange                   SPUS05	  OC	  Square,	  LLC                      Jun-­‐15                                              $	  	  	  	  49,145                      Nov-­‐21                                                             	  	  	  	  	  	  	  	  	  	  	  	  	  	  97
                                                                                                                                                                                                                                                                                                             	              $	  	  	  	  136,705
                                                                                                                                                                                                                                                                                                                                              	                                          Tampa         	  	  	  	  	  	  	  	  8,357
                                                                                                                                                                                                                                                                                                                                                                                                                                        	                              	  	  	  	  	  	  7,817
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                	                            	  	  	  	  	  	  7,323
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      	                            	  	  	  	  	  	  	  	  	  	  -­‐	          	  	  	  	  	  	  	  	  	  	  -­‐	     	  	  	  	  	  	  	  	  	  	  -­‐	  
Orlando                  Orlando	  Univ	  /	  Crocker	  Partners         Jun-­‐16                                              $	  	  	  	  	  	  2,562
                                                                                                                                                            	                  Nov-­‐17                                                             	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  5	     $	  	  	  	  	  	  	  	  	  4,579                   Tampa          	  	  	  	  	  	  	  	  	  	  	  	  356             	  	  	  	  	  	  	  	  	  333
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             	                	  	  	  	  	  	  	  	  	  312
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   	                	  	  	  	  	  	  	  	  	  292
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         	                 	  	  	  	  	  	  	  	  	  254
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                	           	  	  	  	  	  	  	  	  	  	  -­‐	  
Fort	  Lauderdale       One	  Broward	  Blvd	  Holdings	  LLC          Phase	  II                                            $	  	  	  	  16,019                      Mar-­‐17                                                             	  	  	  	  	  	  	  	  	  	  	  	  	  	  28
                                                                                                                                                                                                                                                                                                             	              $	  	  	  	  	  	  44,996
                                                                                                                                                                                                                                                                                                                                                      	                                                	  	  	  	  	  	  	  	  1,496
                                                                                                                                                                                                                                                                                                                                                                                                                                        	                              	  	  	  	  	  	  1,399
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                	                            	  	  	  	  	  	  1,311
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      	                            	  	  	  	  	  	  1,227
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            	                             	  	  	  	  	  	  1,069
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   	                         	  	  	  	  	  	  	  	  	  932
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  	  
Tampa                    Highwoods	  Realty	  LP                          Phase	  II                                            $	  	  	  	  54,325                      Aug-­‐24                                                             	  	  	  	  	  	  	  	  	  	  	  	  121                     $	  	  	  	  162,095
                                                                                                                                                                                                                                                                                                                                              	                                                        	  	  	  	  	  	  	  	  5,483
                                                                                                                                                                                                                                                                                                                                                                                                                                        	                              	  	  	  	  	  	  5,996
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                	                            	  	  	  	  	  	  5,617
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      	                              	  	  	  	  12,014                                 	  	  	  	  10,463                          	  	  	  	  	  	  9,323
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     	  
Jericho                  375	  N.	  Broadway	  Associates	  LP          Dec-­‐14                                               $	  	  	  	  	  	  2,752
                                                                                                                                                            	                  Dec-­‐14                                                             	  	  	  	  	  	  	  	  	  	  	  	  	  -­‐                 $	  	  	  	  	  	  	  	  	  	  	  	  	  -­‐   Hauppauge      	  	  	  	  	  	  	  	  	  	  	  	  	  	  67	     	  	  	  	  	  	  	  	  	  	  -­‐	         	  	  	  	  	  	  	  	  	  	  -­‐	         	  	  	  	  	  	  	  	  	  	  -­‐	          	  	  	  	  	  	  	  	  	  	  -­‐	     	  	  	  	  	  	  	  	  	  	  -­‐	  
Newark                   Diversified	  Capital                             Dec-­‐14                                               $	  	  	  	  	  	  5,145
                                                                                                                                                            	                  Oct-­‐15                                                             	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  7	     $	  	  	  	  	  	  12,490
                                                                                                                                                                                                                                                                                                                                                      	                                Hauppauge        	  	  	  	  	  	  	  	  	  	  	  	  536            	  	  	  	  	  	  	  	  	  	  -­‐	         	  	  	  	  	  	  	  	  	  	  -­‐	         	  	  	  	  	  	  	  	  	  	  -­‐	          	  	  	  	  	  	  	  	  	  	  -­‐	     	  	  	  	  	  	  	  	  	  	  -­‐	  
Chicago                  209	  JAX	  Owner,	  LLC                        Dec-­‐14                                               $	  	  	  	  22,262                      Mar-­‐22                                                             	  	  	  	  	  	  	  	  	  	  	  	  	  	  26
                                                                                                                                                                                                                                                                                                             	              $	  	  	  	  	  	  46,317
                                                                                                                                                                                                                                                                                                                                                      	                                Hauppauge        	  	  	  	  	  	  	  	  	  	  	  	  824            	  	  	  	  	  	  	  	  	  	  -­‐	         	  	  	  	  	  	  	  	  	  	  -­‐	         	  	  	  	  	  	  	  	  	  	  -­‐	          	  	  	  	  	  	  	  	  	  	  -­‐	     	  	  	  	  	  	  	  	  	  	  -­‐	  
Baltimore                901	  CC                                           Jun-­‐15                                              $	  	  	  	  	  	  2,906
                                                                                                                                                            	                  Dec-­‐17                                                             	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  6	     $	  	  	  	  	  	  	  	  	  9,228                 Hauppauge        	  	  	  	  	  	  	  	  	  	  	  	  119             	  	  	  	  	  	  	  	  	  111
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             	                	  	  	  	  	  	  	  	  	  104
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   	               	  	  	  	  	  	  	  	  	  	  -­‐	          	  	  	  	  	  	  	  	  	  	  -­‐	     	  	  	  	  	  	  	  	  	  	  -­‐	  
Denver                   Parkway	  Center,	  LLC                           Jun-­‐15                                              $	  	  	  	  	  	  3,924
                                                                                                                                                            	                   Jun-­‐15                                                            	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  6	     $	  	  	  	  	  	  10,581
                                                                                                                                                                                                                                                                                                                                                      	                                Hauppauge        	  	  	  	  	  	  	  	  	  	  	  	  284             	  	  	  	  	  	  	  	  	  266
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             	                	  	  	  	  	  	  	  	  	  249
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   	               	  	  	  	  	  	  	  	  	  	  -­‐	          	  	  	  	  	  	  	  	  	  	  -­‐	     	  	  	  	  	  	  	  	  	  	  -­‐	  
Richmond                 Regus	  Management	  Group,	  LLC                Jun-­‐15                                              $	  	  	  	  	  	  2,268
                                                                                                                                                            	                  Aug-­‐14                                                             	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  3	     $	  	  	  	  	  	  	  	  	  5,000                 Hauppauge      	  	  	  	  	  	  	  	  	  	  	  	  	  	  61	      	  	  	  	  	  	  	  	  	  	  	  	  57    	  	  	  	  	  	  	  	  	  	  	  	  53   	  	  	  	  	  	  	  	  	  	  -­‐	          	  	  	  	  	  	  	  	  	  	  -­‐	     	  	  	  	  	  	  	  	  	  	  -­‐	  
Hartford                 Regus	  Management	  Group,	  LLC                Sep-­‐15                                              $	  	  	  	  	  	  3,919
                                                                                                                                                            	                    Jul-­‐14                                                           	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  2	     $	  	  	  	  	  	  	  	  	  3,950                 Hauppauge      	  	  	  	  	  	  	  	  	  	  	  	  	  	  78	      	  	  	  	  	  	  	  	  	  	  	  	  73    	  	  	  	  	  	  	  	  	  	  	  	  68    	  	  	  	  	  	  	  	  	  	  	  	  64    	  	  	  	  	  	  	  	  	  	  -­‐	     	  	  	  	  	  	  	  	  	  	  -­‐	  
St.	  Louis             Regus	  Management,	  LLC                         Sep-­‐15                                              $	  	  	  	  	  	  4,478
                                                                                                                                                            	                    Jul-­‐14                                                           	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  3	     $	  	  	  	  	  	  	  	  	  5,364                 Hauppauge        	  	  	  	  	  	  	  	  	  	  	  	  132             	  	  	  	  	  	  	  	  	  123
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             	                	  	  	  	  	  	  	  	  	  115
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   	                	  	  	  	  	  	  	  	  	  108
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         	                	  	  	  	  	  	  	  	  	  	  -­‐	     	  	  	  	  	  	  	  	  	  	  -­‐	  
Bronx                    Hutch	  34	  Industrial	  Street	  LLC         Dec-­‐15                                               $	  	  	  	  60,241                      Aug-­‐22                                                             	  	  	  	  	  	  	  	  	  	  	  	  122                     $	  	  	  	  163,948
                                                                                                                                                                                                                                                                                                                                              	                                        Hauppauge      	  	  	  	  	  	  10,657
                                                                                                                                                                                                                                                                                                                                                                                                                                	                                      	  	  	  	  	  	  9,969
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                	                            	  	  	  	  	  	  9,339
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      	                            	  	  	  	  	  	  8,743
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            	                             	  	  	  	  	  	  	  	  	  	  -­‐	     	  	  	  	  	  	  	  	  	  	  -­‐	  
Columbus                 NC	  Plaza	  LLC                                 Dec-­‐15                                               $	  	  	  	  	  	  4,701
                                                                                                                                                            	                  Apr-­‐18                                                             	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  8	     $	  	  	  	  	  	  13,308
                                                                                                                                                                                                                                                                                                                                                      	                                Hauppauge        	  	  	  	  	  	  	  	  	  	  	  	  397             	  	  	  	  	  	  	  	  	  371
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             	                	  	  	  	  	  	  	  	  	  348
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   	                	  	  	  	  	  	  	  	  	  326
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         	                	  	  	  	  	  	  	  	  	  	  -­‐	     	  	  	  	  	  	  	  	  	  	  -­‐	  
Philadelphia             JFK	  Investments	  Assoc.,	  LP	  I           Dec-­‐15                                               $	  	  	  	  10,885                        Jul-­‐18                                                           	  	  	  	  	  	  	  	  	  	  	  	  	  	  20
                                                                                                                                                                                                                                                                                                             	              $	  	  	  	  	  	  33,756
                                                                                                                                                                                                                                                                                                                                                      	                                Hauppauge       	  	  	  	  	  	  	  	  1,325
                                                                                                                                                                                                                                                                                                                                                                                                                                        	                              	  	  	  	  	  	  1,239
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                	                            	  	  	  	  	  	  1,161
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      	                            	  	  	  	  	  	  1,087
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            	                             	  	  	  	  	  	  	  	  	  	  -­‐	     	  	  	  	  	  	  	  	  	  	  -­‐	  
Phoenix                  AG/FP	  Siete	  Square	  LLC                    Dec-­‐15                                               $	  	  	  	  	  	  5,776
                                                                                                                                                            	                   Jun-­‐16                                                            	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  8	     $	  	  	  	  	  	  	  	  	  9,169                 Hauppauge        	  	  	  	  	  	  	  	  	  	  	  	  542             	  	  	  	  	  	  	  	  	  507
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             	                	  	  	  	  	  	  	  	  	  475
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   	                	  	  	  	  	  	  	  	  	  445
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         	                	  	  	  	  	  	  	  	  	  	  -­‐	     	  	  	  	  	  	  	  	  	  	  -­‐	  
Hauppauge                Bully	  and	  Congrats	  Realty	  LLC          Phase	  II                                            $	  	  	  	  96,136                      May-­‐20                                                             	  	  	  	  	  	  	  	  	  	  	  	  319                     $	  	  	  	  419,485
                                                                                                                                                                                                                                                                                                                                              	                                                       	  	  	  	  	  	  15,513
                                                                                                                                                                                                                                                                                                                                                                                                                                	                                        	  	  	  	  15,846                                	  	  	  	  14,845                                	  	  	  	  14,272                                 	  	  	  	  21,362                            	  	  	  	  18,634
Long	  Island	  City   33-­‐00	  Northern	  Blvd	  LLC                 Phase	  II                                            $	  	  	  	  38,364                      Feb-­‐22                                                             	  	  	  	  	  	  	  	  	  	  	  	  	  	  91
                                                                                                                                                                                                                                                                                                             	              $	  	  	  	  143,015
                                                                                                                                                                                                                                                                                                                                              	                                                        	  	  	  	  	  	  	  	  4,676
                                                                                                                                                                                                                                                                                                                                                                                                                                        	                              	  	  	  	  	  	  4,374
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                	                            	  	  	  	  	  	  4,098
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      	                            	  	  	  	  	  	  3,836
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            	                             	  	  	  	  	  	  3,341
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   	                        	  	  	  	  	  	  2,914
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     	  
New	  York	  City      Empire	  State	  Realty	  Trust                 Phase	  II                                            $	  	  	  	  13,551                      Sep-­‐14                                                             	  	  	  	  	  	  	  	  	  	  	  	  	  	  11
                                                                                                                                                                                                                                                                                                             	              $	  	  	  	  	  	  12,644
                                                                                                                                                                                                                                                                                                                                                      	                                                 	  	  	  	  	  	  	  	  	  	  	  	  656             	  	  	  	  	  	  	  	  	  614
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             	                	  	  	  	  	  	  	  	  	  575
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   	                	  	  	  	  	  	  	  	  	  538
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         	                 	  	  	  	  	  	  	  	  	  469
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                	            	  	  	  	  	  	  	  	  	  409
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  	  
Brooklyn                 SPL	  Associates                                  Dec-­‐14                                               $	  	  	  	  	  	  1,000
                                                                                                                                                            	                  Dec-­‐14                                                             	  	  	  	  	  	  	  	  	  	  	  	  	  -­‐                 $	  	  	  	  	  	  	  	  	  	  	  	  	  -­‐                    	  	  	  	  	  	  	  	  	  	  	  	  -­‐	          	  	  	  	  	  	  	  	  	  	  -­‐	         	  	  	  	  	  	  	  	  	  	  -­‐	         	  	  	  	  	  	  	  	  	  	  -­‐	          	  	  	  	  	  	  	  	  	  	  -­‐	     	  	  	  	  	  	  	  	  	  	  -­‐	  
Washington	  DC         Regus	  Management	  Group,	  LLC               Dec-­‐14                                               $	  	  	  	  	  	  4,798
                                                                                                                                                            	                  Mar-­‐15                                                             	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  1	     $	  	  	  	  	  	  	  	  	  2,423                                  	  	  	  	  	  	  	  	  	  	  	  	  -­‐	          	  	  	  	  	  	  	  	  	  	  -­‐	         	  	  	  	  	  	  	  	  	  	  -­‐	         	  	  	  	  	  	  	  	  	  	  -­‐	          	  	  	  	  	  	  	  	  	  	  -­‐	     	  	  	  	  	  	  	  	  	  	  -­‐	  
Long	  Beach            Premier	  Office	  Centers                       Dec-­‐14                                               $	  	  	  	  	  	  	  	  	  	  793 Dec-­‐14                                                             	  	  	  	  	  	  	  	  	  	  	  	  	  -­‐                 $	  	  	  	  	  	  	  	  	  	  	  	  	  -­‐                    	  	  	  	  	  	  	  	  	  	  	  	  -­‐	          	  	  	  	  	  	  	  	  	  	  -­‐	         	  	  	  	  	  	  	  	  	  	  -­‐	         	  	  	  	  	  	  	  	  	  	  -­‐	          	  	  	  	  	  	  	  	  	  	  -­‐	     	  	  	  	  	  	  	  	  	  	  -­‐	  
New	  Orleans           Regus	  Management	  Group,	  LLC               Dec-­‐14                                               $	  	  	  	  	  	  1,539
                                                                                                                                                            	                  Aug-­‐14                                                             	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  1	     $	  	  	  	  	  	  	  	  	  3,181                                  	  	  	  	  	  	  	  	  	  	  	  	  -­‐	          	  	  	  	  	  	  	  	  	  	  -­‐	         	  	  	  	  	  	  	  	  	  	  -­‐	         	  	  	  	  	  	  	  	  	  	  -­‐	          	  	  	  	  	  	  	  	  	  	  -­‐	     	  	  	  	  	  	  	  	  	  	  -­‐	  
Southfield               Regus	  Management	  Group,	  LLC                Sep-­‐15                                              $	  	  	  	  	  	  1,389
                                                                                                                                                            	                  May-­‐14                                                             	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  1	     $	  	  	  	  	  	  	  	  	  2,692                                  	  	  	  	  	  	  	  	  	  	  	  	  -­‐	          	  	  	  	  	  	  	  	  	  	  -­‐	         	  	  	  	  	  	  	  	  	  	  -­‐	         	  	  	  	  	  	  	  	  	  	  -­‐	          	  	  	  	  	  	  	  	  	  	  -­‐	     	  	  	  	  	  	  	  	  	  	  -­‐	  
   Totals                                                                                                                          $	  	  465,522                                                                                                  	  	  	  	  	  	  	  	  	  	  	  	  976                     $	  1,395,152                                                            	  	  	  	  	  	  58,007
                                                                                                                                                                                                                                                                                                                                                                                                                               	                                       	  	  	  	  53,787                                	  	  	  	  50,389                                	  	  	  	  47,060                                 	  	  	  	  40,521                            	  	  	  	  35,362

                         Summary                                                     Current                             Dec-­‐14                                                        Jun-­‐15                                                  Dec-­‐15                                                                          Jun-­‐16
                           Count                                                          34 	  	  	  	  	  	  	  	  	  	  	  	  	  	  22
                                                                                                                                                     	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  17
                                                                                                                                                                                                                  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  8	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  6
                           Monthly	  rent                             $	  	  	  465,522 $	  	  405,846 $	  	  343,001 $	  	  235,435 $	  	  	  	  227,950                                                                                                                                               	  

    10/15/14	  
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Binder & Binder - The National Social Security Disability Advocates (CO), LLC
Binder & Binder - The National Social Security Disability Advocates (CT), LLC
Binder & Binder - The National Social Security Disability Advocates (FL), LLC
Binder & Binder - The National Social Security Disability Advocates (GA), LLC
Binder & Binder - The National Social Security Disability Advocates (IL), LLC
Binder & Binder - The National Social Security Disability Advocates (MD), LLC
Binder & Binder - The National Social Security Disability Advocates (MO), LLC
Binder & Binder - The National Social Security Disability Advocates (NJ), LLC
Binder & Binder - The National Social Security Disability Advocates (NC), LLC
Binder & Binder - The National Social Security Disability Advocates (OH), LLC
Binder & Binder - The National Social Security Disability Advocates (PA), LLC
Binder & Binder - The National Social Security Disability Advocates (TX), LLC
Binder & Binder - The National Social Security Disability Advocates VA, LLC
Binder & Binder - The National Social Security Disability Advocates (WA), LLC
Binder & Binder - The National Social Security Disability Advocates (LA), LLC
Binder & Binder - The National Social Security Disability Advocates (MI), LLC
Binder & Binder - The National Social Security Disability Advocates (DC), LLC
The Rep for Vets LLC
National Veterans Disability Advocates LLC (DBA The Rep for Vets LLC)
The Social Security Express Ltd.
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                                                               United States Bankruptcy Court
                                                                     Southern District of New York
            Binder & Binder - The National Social Security Disability Advocates (NY),
 In re      LLC                                                                                            Case No.
                                                                  Debtor(s)                                Chapter     11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Binder & Binder - The National Social Security Disability Advocates (NY), LLC in the
above captioned action, certifies that the following is a (are) corporation(s), other than the debtor or a governmental unit,
that directly or indirectly own(s) 10% or more of any class of the corporation's(s') equity interests, or states that there are
no entities to report under FRBP 7007.1:
 Binder & Binder - The National
 Social Security Advocates LLC
 300 Rabro Drive East
 Hauppauge, NY 11788




 None [Check if applicable]




 December 18, 2014                                                    /s/ Kenneth A. Rosen, Esq.
 Date                                                                 Kenneth A. Rosen, Esq.
                                                                      Signature of Attorney or Litigant
                                                                      Counsel for Binder & Binder - The National Social Security Disability
                                                                                     Advocates (NY), LLC
                                                                      Lowenstein Sandler LLP
                                                                      1251 Avenue of the Americas, 17th Floor
                                                                      New York, NY 10020
                                                                      (212) 262-6700 Fax:(212) 262-7402




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